Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 1 of 142




                   EXHIBIT A
     Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 2 of 142




                              UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                                    SAN JOSE DIVISION



APPLE INC., a California corporation,          Case No. 12-cv-00630

                 Plaintiff,                    EXPERT REPORT OF
                                               JOHN R. HAUSER,
       v.                                      August 11, 2013

SAMSUNG ELECTRONICS CO., LTD., A
Korean corporation; SAMSUNG
ELECTRONICS AMERICA, INC., a New
York corporation; SAMSUNG
TELECOMMUNICATIONS AMERICA,
LLC, a Delaware limited liability company,

                 Defendants.




 **CONFIDENTIAL – CONTAINS MATERIAL DESIGNATED AS CONFIDENTIAL –
                      PURSUANT TO A PROTECTIVE ORDER**
                              UNITED STATES DISTRICT COURT
        Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 3 of 142




                                                       Table of Contents

I.       Introduction and Qualifications ............................................................................................ 3
II.      Assignment ........................................................................................................................... 5
III.     Summary of Opinions .......................................................................................................... 6
IV.      Overview of Methodology ................................................................................................... 7
         A. Choosing Among Different Products.......................................................................... 10
         B. Choosing Whether or Not to Buy ............................................................................... 17
         C. Hierarchical Bayes for Choice-Based Conjoint .......................................................... 19
V.       Survey Design and Administration .................................................................................... 21
         A. Pretesting..................................................................................................................... 23
         B. Identifying the Sample ................................................................................................ 25
         C. Survey Methodology................................................................................................... 27
         D. Survey Implementation ............................................................................................... 34
VI.      Estimation of Partworths .................................................................................................... 41
         A. Testing the Fit and Predictive Ability of the Model ................................................... 45
         B. Consumers Positively Value the Patent-Related Features .......................................... 50
VII. The Effect of the Patent-Related Features on Consumers’ Willingness to Buy................. 54
VIII. The Price Premium for the Patent-Related Features .......................................................... 62




Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                                            Page 2 of 67
        Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 4 of 142




I.        Introduction and Qualifications

1.        My name is John R. Hauser. I am the Kirin Professor of Marketing at the MIT Sloan
          School of Management at the Massachusetts Institute of Technology (“MIT”). I have
          served MIT in a number of capacities, including Group Head of Marketing, Research
          Director of the Center for Innovation in Product Development, Co-Director of the
          International Center for Research on the Management of Technology, and Area Head for
          Management Science at MIT. The Management Science Area at the MIT Sloan School of
          Management includes, among other groups, the Marketing Group, the Information
          Technologies Group, and the Statistics Group. The principal focus of my research and
          teaching at MIT has been in the areas of marketing management, new product and service
          development, customer satisfaction, marketing research, and competitive marketing
          strategy. Specifically, my research includes the evaluation of consumer decision-making,
          product and service development, websites and advertising designed around customers’
          cognitive styles, determination of relative feature preferences and implicit product
          valuations, and demand forecasts.

2.        I am the co-author of two textbooks, Design and Marketing of New Products and
          Essentials of New Product Management, as well as over eighty articles and papers,
          including articles on various methods used to determine the importance of product
          features in consumer decision-making. I have developed market research techniques that
          enable marketing researchers, experts, and managers to predict the value of individual
          features in both existing and hypothetical products. These methods have been employed
          numerous times by academic researchers, as well as practitioners from major
          international corporations.1




1
     See, among others, Toubia, Olivier, John Hauser and Rosanna Garcia (2007), “Probabilistic Polyhedral
     Methods for Adaptive Choice-Based Conjoint Analysis: Theory and Application,” Marketing Science, 26, 5,
     (September-October), pp. 596–610; Urban, Glen L., and John R. Hauser (2004), “‘Listening-In’ to Find and
     Explore New Combinations of Customer Needs,” Journal of Marketing, 68, 2, (April), pp. 72–87; Griffin,
     Abbie and John R. Hauser (1993), “The Voice of the Customer,” Marketing Science, 12, 1, (Winter), pp. 1–27;
     and Hauser, John R., Olivier Toubia, Theodoros Evgeniou, Rene Befurt, and Daria Dzyabura (2010),
     “Disjunctions of Conjunctions, Cognitive Simplicity and Consideration Sets,” Journal of Marketing Research,
     47, (June), pp. 485–496.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order              Page 3 of 67
        Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 5 of 142




3.        I have served as editor-in-chief of Marketing Science and have held senior editorial
          positions with Management Science, the Journal of Marketing Research, and the Journal
          of Product Innovation Management. I have received numerous awards for excellence in
          research and teaching in Marketing and was recognized by the American Marketing
          Association with the Paul D. Converse Award for “outstanding contributions to
          marketing scholarship.”2 In 2001, I received the Parlin Award, which is “the oldest and
          most distinguished award in the [marketing research] field,” according to the American
          Marketing Association.3 In 2011, I received the Churchill Lifetime Achievement Award
          of the American Marketing Association for contributions to marketing research. In 2013,
          I was awarded the Buck Weaver award by the INFORMS Society of Marketing Science,
          for lifetime contributions to the theory and practice of marketing science.4 I am a Fellow
          of the Institute for Operations Research and Management Science (“INFORMS”) and an
          Inaugural Fellow of the INFORMS Society of Marketing Science. I am the President-
          elect of the INFORMS Society of Marketing Science (a board-level position). I have also
          served as a Trustee of the Marketing Science Institute.

4.        I have served as an expert witness or offered consulting services in numerous litigations,
          including, but not limited to, cases on trademark and patent infringement, copyright
          infringement, intellectual property, market research, survey design, consumer confusion
          and false advertisement, product confusion, claims substantiation, and Lanham Act cases.
          Most of this expert testimony has involved surveys and other market research to measure
          consumers’ attitudes, beliefs, and intentions. In these prior matters, I have been called
          upon to project what consumer behavior would have been under different market
2
     “The Paul D. Converse Awards,” American Marketing Association,
     http://www.marketingpower.com/Community/ARC/Pages/Career/Awards/Converse.aspx, (visited on August
     10, 2013); “Previous Recipients,” 18th Paul D. Converse Marketing Symposium,
     http://business.illinois.edu/converse/previous.html, (visited on August 10, 2013).
3
     “2009 Charles Coolidge Parlin Marketing Research Award,” American Marketing Association, January 14,
     2009,
     http://www.marketingpower.com/ResourceLibrary/Pages/MarketingThoughtLeaders/MarketingThoughtLeaders
     11409/Parlin_Marketing_Research_Award.aspx, visited on August 10, 2013; “Charles Coolidge Parlin -
     Marketing Research Award,” American Marketing Association,
     http://www.marketingpower.com/Calendar/Pages/CharlesCoolidgeParlinAward.aspx, (visited on August 10,
     2013).
4
     “AMS Co-Founder John Hauser Receives Lifetime Achievement Award”, PRWeb,
     http://www.prweb.com/releases/2013/8/prweb10989760.htm, (visited on August 10, 2013).



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order        Page 4 of 67
        Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 6 of 142




          scenarios, to measure the importance and value of product features, to measure the
          impact of rumors, to evaluate marketing research with respect to advertising claims, and
          to investigate the potential for customer confusion.

5.        I have provided survey evidence that has been used to estimate the relative value of
          product features, for example, in both antitrust cases and in patent infringement cases. I
          have advised major corporations, including American Airlines, Chrysler Corporation,
          Fidelity Investments, Ford, General Motors, IBM, Polaroid, Proctor & Gamble, and
          Xerox. My professional qualifications are described in my curriculum vita, which is
          attached as Exhibit A. A list of cases in which I have testified within the last four years at
          deposition or trial is attached as Exhibit B.

6.        The subject area headings in this report are intended to assist the reader and no inference
          should be drawn from the use or omission of any wording or description in these
          headings.


II.       Assignment

7.        I was asked by counsel for Plaintiff, Apple Inc. (“Apple”), to design and conduct two
          surveys—one for smartphones and one for tablets—to determine what effect, if any, the
          features associated with the patents at issue have on Samsung consumers’ willingness to
          buy Samsung smartphones and tablets.5 I was also asked to determine the price premium,
          if any, that Samsung consumers are willing to pay for the features associated with the
          patents at issue. For smartphones, I was asked to test the following patents: US 5,946,647
          (the “’647 Patent”), US 6,847,959 (the “’959 Patent”), US 8,074,172 (the “’172 Patent”),
          8,014,760 (the “’760 Patent”), and US 7,761,414 (the “’414 Patent”). For tablets, I was
          asked to test the following patents: US 8,046,721 (the “’721 Patent”), the ’647 Patent, the
          ’959 Patent, the ’172 Patent and the ’414 Patent.6


5
      In this report, I collectively refer to Defendants Samsung Electronics Co., Ltd., Samsung Electronics America,
      Inc. and Samsung Telecommunications America, LLC as “Samsung.”
6
      I understand that the ’721 Patent is alleged to be infringed by Samsung smartphones as well as Samsung tablets.
      In order to better balance the number of patent-related features tested in each survey, I did not test the ’721
      Patent for smartphones.


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                   Page 5 of 67
        Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 7 of 142




8.        In undertaking this assignment, I relied on my extensive expertise in developing, testing,
          and analyzing surveys and in interpreting qualitative and quantitative research about
          consumer attitudes, intentions, preferences, and behavior.

9.        Part of the survey work for this investigation was performed under my direction by
          Applied Marketing Science, Inc. (“AMS”). Since 1989, AMS has conducted market
          research and surveys designed to gauge consumers' wants and needs for new products in
          dozens of industries. Since 1994, AMS has been conducting surveys to support expert
          testimony in litigation. I am a Senior Consultant, Board Member, and Co-Founder of
          AMS. I am a minority stockholder in AMS, but I do not receive any compensation from
          AMS that is directly tied to this case. Working under my direction, Cornerstone Research
          (“Cornerstone”) performed part of the survey design and empirical analysis supporting
          my opinions in this report.

10.       My rate of compensation for this task is $800 per hour. My compensation is not
          contingent upon the outcome of this dispute.

11.       My work is ongoing; I may update and revise my results and conclusions as I review
          additional data and information. A complete list of materials I have considered to date in
          connection with this particular assignment is included as Exhibit C. To the extent that I
          review additional information, I will supplement this list.


III.      Summary of Opinions

12.       I designed and conducted two separate surveys—one for smartphones and one for
          tablets—to determine the effect that removing the features related to the patents at issue
          in this case has on Samsung consumers’ willingness to buy Samsung smartphone or
          tablet devices. I also used these surveys to determine what price premium, if any,
          Samsung consumers are willing to pay for these patent-related features. For smartphones,
          I tested the ’647 Patent, the ’959 Patent, the ’172 Patent, the ’760 Patent, and the ’414
          Patent. For tablets, I tested the ’721 Patent, the ’647 Patent, the ’959 Patent, the ’172
          Patent, and the ’414 Patent.




Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order   Page 6 of 67
        Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 8 of 142




13.       After careful review of the results of these surveys, including sensitivity analyses and
          robustness checks described in detail below, it is my opinion that the model of consumer
          behavior I use provides reliable and substantial information explaining consumers’
          choices in regard to the features tested for both smartphones and tablets.

14.       The choice simulation results that I have obtained and the robustness checks that I have
          performed demonstrate that, for both smartphones and tablets, the patent-related features
          at issue in this case, whether individually or collectively, have substantial effects on
          Samsung consumers’ willingness to buy the relevant Samsung products. My analysis of
          the data also finds that, on average, Samsung consumers place substantial positive value
          on the patent-related features at issue in this case.

15.       Finally, I understand that the exhibits to my report and underlying data have been
          provided to Christopher Vellturo, Ph.D. I further understand from Dr. Vellturo that he is
          utilizing the data and findings from my conjoint studies in order to estimate how demand
          for certain smartphones and tablets is impacted when product features I considered in my
          conjoint studies are removed from those devices. I also understand that those devices
          have prices and screen sizes within or close to the ranges in my conjoint studies. In my
          opinion, it is appropriate to use the data and findings from my studies for such an
          application.


IV.       Overview of Methodology

16.       The basic survey methodology that I selected is known as web-based conjoint analysis.
          Conjoint analysis is a tool that enjoys wide use in the field of marketing research. It was
          introduced to the field of marketing research in 1971 and is generally recognized by
          marketing science academics and industry practitioners to be the most widely studied and
          applied form of quantitative consumer preference measurement. It has been shown to
          provide valid and reliable measures of consumer preferences, and these preferences have




Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order    Page 7 of 67
        Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 9 of 142




          been shown to provide valid and reliable forecasts of what consumers will do (or would
          have done) under scenarios related to those measured.7

17.       For example, under the auspices of MIT’s Virtual Consumer Initiative, my colleagues
          and I undertook large-scale tests of the validity of web-based conjoint analysis.
          Predictions were highly accurate, predicting future choices consumers would make in a
          subsequent test with real money at stake and predicting what would happen in the
          marketplace. One of the scientific papers discussing the validity test received two highly
          prestigious awards as the best paper in the marketing sciences literature for 2003
          (awarded in 2004) and for the best paper based on a dissertation (awarded in June 2005).8
          Another one of my scientific papers was a finalist for the best paper in 2002 in the
          Journal of Product Innovation Management and still a third paper was a finalist for the
          best contribution to the practice of marketing research in 2003. 9 Many successful
          products, including automobiles, hotel chains, the EZ Pass system, HMOs, and cameras,
          have been developed using conjoint analysis.10

18.       The general idea behind conjoint analysis is that consumers’ preferences for a particular
          product are driven by the features or descriptions of the features embodied in that
          product. The features included in the survey are organized into feature categories. This is
          typical practice in conjoint analysis: consumers are presented with different hypothetical
          products as options (also known as “profiles”), which are constructed based on the




7
      Hauser, John R. and Vithala Rao (2004), “Conjoint Analysis, Related Modeling, and Applications,” Advances
      in Marketing Research: Progress and Prospects, Jerry Wind and Paul Green, Eds., (Boston, MA: Kluwer
      Academic Publishers), pp. 141–168.
8
      Toubia, Olivier, Duncan I. Simester, John R. Hauser, and Ely Dahan (2003), “Fast Polyhedral Adaptive
      Conjoint Estimation,” Marketing Science, 22, 3, (Summer), pp. 273–303.
9
      Dahan, Ely and John R. Hauser (2002), “The Virtual Customer,” Journal of Product Innovation Management,
      19, 5, (September), pp. 332–354; Toubia, Olivier, John R. Hauser, and Duncan Simester (2004), “Polyhedral
      Methods for Adaptive Choice-based Conjoint Analysis,” Journal of Marketing Research, 41, 1, (February), pp.
      116–131.
10
      Green, Paul E., Abba M. Krieger, and Yoram Wind (2001), “Thirty Years of Conjoint Analysis: Reflections and
      Prospects,” Interfaces, 31, 3, (May–June), pp. S53–S76. Hauser, John R. and Vithala Rao (2004), “Conjoint
      Analysis, Related Modeling, and Applications,” Market Research and Modeling: Progress and Prospects, Jerry
      Wind and Paul Green, Eds., (Boston, MA: Kluwer Academic Publishers), pp. 141–168.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order               Page 8 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 10 of 142




          feature categories (also known as “attributes”). 11 For example, in one of the classic
          articles in the conjoint area, Lenk, DeSarbo, Green, and Young (1996) studied computer
          purchases of MBA students using the feature categories of telephone service hot line,
          RAM, screen size, CPU speed, hard disk size, CD ROM/multimedia, cache, color of unit,
          availability, warranty, bundled productivity software, money back guarantee, and price.12
          In another study, storage format, LCD screen size, optical zoom, camera resolution, low-
          light sensitivity, and price were used as attributes for camcorders.13

19.       In the smartphone survey I conducted here, I included the following feature categories: (i)
          data accessibility; (ii) call initiation and screening; (iii) input assistance; (iv) screen size;
          (v) camera; and (vi) price. In the tablet survey I conducted here, I included the following
          feature categories: (i) data accessibility; (ii) lock screen interface; (iii) input assistance;
          (iv) screen size; (v) connectivity; and (vi) price. Each of the feature categories included in
          the smartphone and tablet surveys takes on one of four different levels. For example, in
          the smartphone survey, the screen size category takes one of the following four levels: (1)
          4.0”, (2) 4.8”, (3) 5.0”, or (4) 5.5”. In some cases, levels consist of various features. For
          example, the camera feature category takes on one of the following four levels: (1)
          Panorama, (2) Panorama and Best Photo, (3) Panorama, Best Photo, and Smile Shot, or
          (4) Panorama, Best Photo, Smile Shot, and Buddy Photo Share.

20.       There are different forms of conjoint analysis.14 For this assignment, I used a form of
          conjoint analysis known as Choice-Based Conjoint (“CBC”) analysis. In CBC,
          consumers are shown products generated as different combinations of levels of the

11
      See, for example, Vithala Rao (2008), “Developments in Conjoint Analysis,” Handbook of Marketing Decision
      Models, B. Wierenga, Ed., (Boston, MA: Springer Science and Business Media), pp. 23–49.
12
      Peter J. Lenk, Wayne S. DeSarbo, Paul E. Green, and Martin R. Young (1996), “Hierarchical Bayes Conjoint
      Analysis: Recovery of Partworth Heterogeneity from Reduced Experimental Designs,” Marketing Science, 15,
      2, pp. 173–191.
13
      Min Ding, Young-Hoon Park, and Eric T. Bradlow (2009), “Barter Markets for Conjoint Analysis,” Marketing
      Science, 55, 6, pp. 1003–1017. For other examples of feature categories for different products, see Dahan, Ely
      and John R. Hauser (2002), “The Virtual Customer,” Journal of Product Innovation Management, 19, 5,
      (September), pp. 332–354;
14
      Examples of conjoint approaches include Ratings Based (or Full Profile) Conjoint Analysis, Choice-Based
      Conjoint Analysis, Adaptive Conjoint Analysis, and Self-Explicated Conjoint Analysis. See Vithala Rao (2008),
      “Developments in Conjoint Analysis,” Handbook of Marketing Decision Models, B. Wierenga, Ed., (Boston,
      MA: Springer Science and Business Media), pp. 23–49.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                  Page 9 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 11 of 142




          feature categories. Respondents are shown these products in sets (called the “choice sets”
          or “choice tasks”) and are asked to choose the product that they most prefer among the
          alternatives presented. I chose to show respondents four products in each choice set. I
          have used four-product choice sets in other applications, including award-winning
          academic articles and in litigation.15 I have found the data to be both reliable and valid.

21.       In the smartphone and tablet surveys I conducted here, respondents are asked whether
          they would buy the product that they chose at the indicated price. In making that choice,
          respondents are asked to take into account other options in the market (other smartphone
          options in the smartphone survey and other tablet options in the tablet survey) that might
          influence their purchase decision.16

22.       I now discuss how the choices respondents make in response to each question are used to
          understand consumer demand for the features included in the survey; as well as how
          consumer demand for the features drives consumer demand for the product.


          A.         Choosing Among Different Products

23.       Conjoint analysis provides respondents with realistic choices among hypothetical
          products that vary simultaneously on multiple feature categories. This realism enhances
          the predictive ability, and hence, reliability and validity of the conjoint analysis task.
          Furthermore, because multiple feature categories are varying simultaneously, the task
          does not cause the respondent to focus artificially on a single feature category. By
          avoiding such a focus, conjoint analysis minimizes any demand artifacts that might be
          induced. A demand artifact is akin to a leading question.17 A multi-feature-category task

15
      See, for example, Toubia, Olivier, John R. Hauser, and Duncan Simester (2004), “Polyhedral Methods for
      Adaptive Choice-based Conjoint Analysis,” Journal of Marketing Research, 41, 1, (February), pp. 116–131;
      Toubia, Olivier, John Hauser and Rosanna Garcia (2007), “Probabilistic Polyhedral Methods for Adaptive
      Choice-Based Conjoint Analysis: Theory and Application,” Marketing Science, 26, 5, (September–October),
      pp. 596–610. TiVo Inc. v. Echostar Communications Corp. et al., Case No. 2:04-CV-1-DF, United States
      District Court for the Eastern District of Texas, Marshall Division.
16
      Jeff D. Brazell, Christopher G. Diener, Ekaterina Karniouchina, William L. Moore, Válerie Séverin, and Pierre-
      Francois Uldry (2006), “The no-choice option and dual response choice designs,” Marketing Letters, 17, 4,
      (December), p. 256; Christopher G. Diener, Bryan Orme, Dan Yardley, “Dual Response ‘None’ Approaches:
      Theory and Practice,” 2006 Sawtooth Software Conference Proceedings, pp. 157–167.
17
      Demand artifacts are aspects of the study that influence research results based on the chosen procedure rather
      than based on the phenomenon under study. For a discussion of demand artifacts, see, e.g., Sawyer, Alan G.


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                 Page 10 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 12 of 142




          discourages respondents from guessing that the researcher is interested in a particular
          feature category, which would, in turn, cause the respondent to believe that the researcher
          is “demanding” a particular response. A multi-feature-category conjoint analysis task is
          likely to be more reliable and valid than a task in which the consumer trades off only a
          single feature category (or a single feature) and price as would be the case in methods
          such as contingent valuation.

24.       CBC analysis is consistent with economic and consumer-behavior theories of
          approximate utility maximization. That is, if a researcher could measure all features that
          varied and could account for each and every other factor that might influence the
          consumer, then consumer-behavior theory says that consumers would choose the product
          that maximizes their utility. In conjoint analysis, utility is modeled as having an observed
          component that is due to the feature categories being varied and an unobserved
          component that is due to the impact of unobserved factors. The observed utility is the
          sum of the partial contributions of each feature category and price (the effect of price is
          negative). The partial contribution of a level of a feature is known as a “partworth.”
          These partworths are estimated from the respondents’ natural choices by established
          statistical methods.

25.       Partworths measure, in units of utility, the relative partial contribution of a feature. For
          example, if the partworth for a smartphone screen size of 4.0” is 1.2 units of utility and
          the partworth for a smartphone screen size of 4.8” is 3.0 units of utility, then one can say
          that the respondent gets 1.8 more units of utility from a smartphone with a 4.8” screen
          than he or she would have gotten from a smartphone with a 4.0” screen. (1.8 = 3.0 – 1.2).
          Similarly, if the partworth for a smartphone screen size of 5.5” is 2.1 units of utility, then
          the respondent prefers the 4.8” screen size to the 5.5” screen size and the relative change
          in utility is 0.9 units (0.9 = 3.0 – 2.1).

26.       I estimated the partworths for different levels of feature categories included in the two
          surveys from respondents’ choices. I first provide a conceptual example of how this is

      (1975), “Demand Artifacts in Laboratory Experiments in Consumer Research,” Journal of Consumer Research,
      1, 4, (March), pp. 20–30; Shimp, Terence A., Eva M. Hyatt, and David J. Snyder (1991), “A Critical Appraisal
      of Demand Artifacts in Consumer Research,” Journal of Consumer Research, 18, 3, (December), pp. 273–283.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order               Page 11 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 13 of 142




          done. Imagine a study is conducted to measure the incremental value of a digital video
          recorder (DVR) as part of a satellite television service. The first step would be to create
          different hypothetical products, each describing a possible satellite television service. For
          ease of exposition, the example below has only five feature categories—DVR or not,
          network, number of channels, number of premium packages, and price. In a real conjoint
          task, the levels in these five categories would all vary across different products and the
          consumer would choose among different products. Instead, for ease of exposition, many
          levels in the illustrative example do not vary; the only levels that vary are the DVR and
          number of channels categories. Now imagine that the consumer is asked to make a choice
          among only these two services. In Table 1A below, the respondent prefers a service with
          a DVR even though it includes fewer channels than the alternative service, only 120
          channels rather than 180. This choice alone indicates that this consumer prefers having a
          DVR with 120 channels to the addition of 60 additional channels. He or she may still
          prefer the DVR to the addition of even more channels. This finding is called an inequality
          constraint because the difference in the partworths between having a DVR and not having
          a DVR is larger than the difference in partworths between 120 and 180 channels.


                       Table 1A: Conjoint Analysis—Basic Concept
               Prefers DVR with 120 channels to no DVR with 180 channels

                                                        Product 1                          Product 2

             Includes DVR                               Yes                                No

             Network                                    Dish                               Dish

             Number of Channels                         120                                180

             Premium Packages                           3                                  3

             Price                                      $20                                $20

                                                        Chosen                             Not Chosen




Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                Page 12 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 14 of 142




27.       Now consider another consumer who is given the same choice exercise and who chooses
          the service without the DVR but with the 180 channels. This situation is depicted in
          Table 1B below. The second consumer prefers having an addition of 60 channels above
          and beyond 120 channels to having a DVR. In this inequality constraint, the difference in
          partworths between 180 channels and 120 channels is greater than the difference in
          partworths between having a DVR and not having a DVR.


                       Table 1B: Conjoint Analysis—Basic Concept
               Prefers no DVR with 180 channels to DVR with 120 channels

                                                        Product 1                          Product 2

             Includes DVR                               Yes                                No

             Network                                    Dish                               Dish

             Number of Channels                         120                                180

             Premium Packages                           3                                  3

             Price                                      $20                                $20

                                                        Not Chosen                         Chosen



28.       Now imagine giving a respondent 16 such choice tasks—similar to the methodology in
          the surveys described herein for smartphones and tablets—where, in each choice task, he
          or she is asked to choose among four “products” each representing a different type of
          satellite television service. Every choice task results in three inequality constraints
          because the chosen product is preferred to each of the other three available products. An
          inequality constraint is akin to a data point. Therefore, a single respondent’s choices
          among four products result in 48 data points. When aggregated over a large number of
          respondents, the CBC exercise generates a rich set of data from which to estimate the
          partworths. For example, when aggregated over 500 respondents, the sample exercise
          described above gives 48 × 500 = 24,000 data points.




Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order               Page 13 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 15 of 142




29.       Suppose that the five feature categories used in the above example each had four levels
          (for example, the levels for Number of Channels were 80, 120, 180, and 220 channels).
          Because partworths are relative, three (rather than four) partworths need to be estimated.
          Thus, with five categories and four levels, 3 × 5 = 15 partworths need to be estimated.
          The large number of data points (24,000) is more than adequate to estimate statistics
          (medians, means, covariances, etc.) for the 15 partworths. Market-level estimates of
          median (or mean) values and the market-level variation are statistically precise.

30.       Using information from consumer-behavior theory makes these estimates even more
          precise. For example, consumer-behavior theory indicates that preferences are monotonic
          in price: all else equal, people prefer to pay less than to pay more. Thus, the partworth of
          paying $8 has to be at least as large as the partworth of paying $20. This information also
          takes the form of inequality constraints and can be thought of as “prior information” in
          the academic literature.18 Ignoring this information and consumer-behavior theory would
          result in estimating a model that does not use all of the available data. Such a model
          would be a less reliable description of consumer behavior and a less reliable summary of
          the available data. The importance of incorporating available consumer-behavior theory
          in this manner has been recognized in marketing research studies. For example, Allenby,
          Arora, and Ginter (1995) write that:

                     “In summary, we often have prior knowledge about the part-worths in
                     conjoint studies. Failure to use this prior knowledge in estimation
                     frequently results in part-worths that violate the known structure. … In
                     addition, we demonstrate that the proposed methodology [a Bayesian
                     approach to constrained part-worth estimation] results in part-worth
                     estimates that are more accurate than other approaches across a variety of
                     conditions.”19

18
      See, for example, Allenby, Greg, Neeraj Arora, and James Ginter (1995), “Incorporating Prior Knowledge into
      the Analysis of Conjoint Studies,” Journal of Marketing Research, 32, 2, pp. 152–162. (“Researchers often
      possess prior information about the partworths, such as the order and range restrictions of product attribute
      levels. It is known, for example, that consumers would rather pay less for a specific product given that all other
      product attribute levels are unchanged.”)
19
      Allenby, Greg, Neeraj Arora, and James Ginter (1995), “Incorporating Prior Knowledge into the Analysis of
      Conjoint Studies,” Journal of Marketing Research, 32, 2, pp. 152–162, at p. 161. For another example, see
      Boatwright, Peter, Robert McCulloch, and Peter Rossi (1999), “Account-Level Modeling for Trade Promotion:
      An Application of a Constrained Parameter Hierarchical Model,” Journal of the American Statistical
      Association, 94, 448, (December), pp. 1063–1073.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                    Page 14 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 16 of 142




31.       The illustrative DVR example also shows why I focus my subsequent analysis on market-
          level information. In the analysis of the data, partworths vary by consumer because some
          consumers value DVRs highly and some do not. However, the goal is to summarize this
          variation with a relatively small number of statistics. That is, it is statistically more
          precise to base the interpretations on the 24,000 data points along with information from
          consumer-behavior theory rather than attempt to focus on the 15 partworths for a single
          respondent using 48 data points plus consumer-behavior theory. The following example
          illustrates the difference between market-level and individual-consumer level statistics.
          The same conceptual idea applies to the data from a conjoint analysis exercise.

32.       The precision based on a population versus the precision based on a single respondent is
          best illustrated with probability theory. To make this distinction more clear, I focus on a
          simple probabilistic outcome—the flip of a coin. The same principle applies to the data
          collected in the conjoint analysis survey. Suppose that a study is designed to estimate the
          probability that a coin flips to heads by observing two independent flips per consumer. If
          the coin is really a fair coin, the probability of heads is 0.50. Observing 500 consumers,
          each flipping the same coin twice, results in 1,000 flips. The estimated probability of
          heads is very likely very close to 0.50, based on the mean or median of the outcomes of
          1,000 coin flips. In fact, the expected mean (and median) is 0.50 and the 95% confidence
          interval is 0.50  0.03. This result is at the market level. However, at the level of the
          individual respondent, because there are only a small number of observations possible for
          an individual respondent, the estimated probability of heads for an individual respondent
          is not as precise. Specifically, the only possible outcomes are HH, HT, TH, and TT—
          each equally likely with a fair coin.20 Thus, for approximately 25% of the consumers, the
          estimated probability of heads would be 1.00, and for approximately 25% of the
          consumers, such probability would be 0.00. Only for approximately half of the
          consumers, the estimated probability would be 0.50. The estimates are unbiased because
          the average outcome is still 0.50 (0.50 = (1.00 + 2 × 0.50 + 0.00) ÷ 4). However, these
          estimates, which are the best for a single respondent, are much less precise than the
          estimates based on the full sample of all 500 consumers (0.50  0.03). As this example

20
      Head = H, Tail = T.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order    Page 15 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 17 of 142




          shows, while estimates based on a small number of observations for each individual may
          be less precise, the individual-respondent estimates aggregate to a highly precise estimate
          of the market-level probability that one can rely upon. The same logic applies to conjoint
          analysis. Using 24,000 inequality constraints, plus consumer behavior theory, gives
          precise estimates at the market level even if the estimates and predictions for a particular
          consumer may not be as statistically precise.

33.       Before I address the estimation of partworths, I provide one more example to show the
          power of the market-based approach. Suppose that there are two types of coins, neither
          fair. (A fair coin is equally likely to come up head or tail.) Coin A returns a head with
          probability 0.60 and Coin B returns a head with probability 0.40. (If each respondent is
          given one of the two coins with equal probability, and I choose a respondent randomly,
          then, a priori, a head is returned with probability 0.50). Now suppose I observe a
          respondent flip two heads and I want to estimate what type of coin the respondent has. If
          a particular respondent had Coin A, he or she would have gotten two heads 36% of the
          time because 0.36 = 0.60 × 0.60. If the respondent had Coin B, he or she would have
          gotten two heads only 16% of the time because 0.16 = 0.40 × 0.40. Thus, if I observe
          HH, it is more likely the consumer has Coin A than Coin B. The likelihood is about
          70%.21 In other words, by observing the outcomes of the flips, I gain information about
          the likely type of coin, which I do not observe directly. This is analogous to how
          partworths are estimated. I observe choices and the choices enable me to infer the
          partworths that led to those choices. In this example, as in the prior coin-flipping
          example, I could infer more precisely the distribution of Coin A vs. Coin B using data
          from the entire market than I could by attempting to make estimates for each and every
          respondent. Market-level data is accurate, valid, and precise. Individual-respondent data
          is also accurate and valid, but not nearly as precise.




21
      According to Bayes’ Theorem: 0.692 (or about 70%) = 0.36 ÷ (0.36 + 0.16). See Gelman, Andrew, John Carlin,
      Hal Stern, and Donald Rubin (2004), Bayesian Data Analysis, Second Edition, (Chapman & Hall), at pp. 7–9.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order             Page 16 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 18 of 142




          B.         Choosing Whether or Not to Buy

34.       Responses from the choice exercises described in Tables 1A and 1B enable me to
          evaluate the effect on consumer demand of including or not including particular features
          in particular products. In the example in Tables 1A and 1B, the levels that differ are DVR
          vs. no DVR and 180 channels vs. 120 channels. Consider the following example. Imagine
          that a satellite television provider wanted to explore ways in which to expand its
          customer base and wanted to test the effect on consumer demand of adding the DVR
          feature, adding more channels, or adding premium packages. To answer this question
          using the tools of conjoint analysis, one would once again create hypothetical products
          with varying feature categories, as in the earlier example. In each choice task, the
          respondent is first asked to choose among four products. However, one must also ask the
          respondent whether or not he or she would buy his or her preferred product as compared
          to other choices that he or she might have in the marketplace. As in the example in Tables
          1A and 1B, these choice questions are repeated over 16 choice tasks. Each choice task
          includes two questions: (1) the respondent is asked to choose among the shown products
          and (2) the respondent is asked whether or not he or she would purchase the chosen
          product in the marketplace. The answers to these questions allow one to evaluate
          consumer demand for a product and how it is affected by consumer demand for different
          features.




Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order   Page 17 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 19 of 142




                   Table 2: Basic Concept for Market Demand
      Respondent is asked whether he or she would buy the preferred product

                                                        Product 1                          Product 2

             Includes DVR                               Yes                                No

             Network                                    Dish                               Dish

             Number of Channels                         120                                180

             Premium Packages                           3                                  3

             Price                                      $20                                $20

             Question 1: Which product do you choose between the two?
             Answer 1: Product 1

             Question 2: Would you or would you not buy the product that you chose above at the
             indicated price?
             Answer 2: Yes, I would buy the product above.




35.       Consider the hypothetical example presented in Table 2. Suppose that when a respondent
          is asked to choose between the two options, he or she chooses the “product” shown in the
          first column, again corresponding to a particular type of satellite television service. (Note
          that in the actual smartphone and tablet surveys I provide four options, not two.) The
          product includes the DVR feature and 120 channels. In the second question, the
          respondent is asked whether or not he or she would actually buy this product at the price
          specified if it were available in the marketplace. The answer to this second question
          provides another data point, or inequality constraint. The data point provides information
          about the necessary attraction of a product (i.e., how many and what features it must
          have) so that the particular respondent would buy it.

36.       I ask the second question for each of the 16 choice sets faced by every respondent. If I
          had 500 respondents I would ask this question 16 × 500 times for a total of 8,000
          additional inequality constraints that I can use to estimate market demand. The data from
          the set of second questions can be used to estimate the necessary attractiveness for a


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order               Page 18 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 20 of 142




          respondent to purchase a product (at the given price) in the marketplace. Technically, I
          estimate a partworth, sometimes called the “outside option,” to quantify the minimum
          level of attractiveness. The lower this partworth, the more likely the respondent will be to
          buy the product he or she chose in the choice-set question. Like the partworths of the
          levels of feature categories, partworths for attractiveness (the outside option) may vary
          across respondents. The probabilistic arguments discussed above also apply to the
          attractiveness partworths. Using all of the data from all respondents, I obtain very precise
          estimates of the distribution of the attractiveness partworth.


          C.         Hierarchical Bayes for Choice-Based Conjoint

37.       I use a well-known, well-tested, and widely-used method to estimate the distribution of
          partworths that best describe the first- and second-stage choices that I observe among the
          507 consumers in the smartphone survey and the 459 consumers in the tablet survey. The
          statistical method is known as Hierarchical Bayes for Choice-Based Conjoint analysis
          (“HB CBC”). HB CBC is commonly used in both academic and industry conjoint
          analyses. I and other researchers have used the HB CBC approach in academic
          research.22

38.       As in the Coin A vs. Coin B example, HB CBC analysis uses survey data on respondents’
          choices (both first- and second-stage), combined with prior information from consumer-
          behavior theory to estimate the posterior distribution of partworths for the respondents.23
          The “posterior” distribution in Bayesian models refers to the current state of knowledge
          about all uncertain quantities in a Bayesian analysis.24 The “hierarchy” part of HB CBC

22
      For surveys of academic research on HB CBC, see, for example, Allenby, Greg M., and Peter E. Rossi (2003),
      “Perspectives Based on 10 Years of HB in Marketing Research,” Sawtooth Software Research Paper Series.
      Rossi, Peter E. and Greg M. Allenby (2003), “Bayesian Statistics and Marketing,” Marketing Science, 22, 3,
      (Summer), pp. 304–328. Hauser, John R. and Vithala Rao (2004), “Conjoint Analysis, Related Modeling, and
      Applications,” Advances in Market Research and Modeling: Progress and Prospects, Jerry Wind and Paul
      Green, Eds., (Boston, MA: Kluwer Academic Publishers), pp. 141–168.
23
      In the Coin A vs. Coin B example, the prior belief was that the coins were equally likely. I could have used
      other prior beliefs. For example, if I knew that 80% of the coins in the population were of the A-type, then I
      would have been more confident that the HH came from an A-type than a B-type. I would have estimated that
      there was a 90% chance that the coin was on an A-type. In HB CBC, weakly-informative priors are used such
      that the priors have little impact on the final estimates. The consumer-behavior-theory constraints play an
      analogous role to prior information.
24
      Technically, the posterior distribution is proportional to the product of the prior density and the likelihood.


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                       Page 19 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 21 of 142




          means that the statistical model of the estimation allows variation (or heterogeneity) and
          correlation across partworths of different respondents when deriving the distribution of
          partworths across all respondents. Because of the variation and correlation, the
          distribution of partworths for a subset of respondents is informed by the data of choices
          by all respondents whose choices are used in the estimation. I use HB CBC estimation to
          derive the distribution of partworths across all these respondents (as a sample from the
          consumer population). That distribution and related statistics, such as the average or
          median partworths, shares, or fit and validation measures, are statistically precise. I report
          statistical confidence bounds when appropriate.

39.       Analogous to the coin-flipping example, HB CBC estimation enables me to obtain more
          precise estimates of market-level distributions from less-precise individual-respondent-
          level estimates. HB CBC partworth estimates are best suited for calculating statistics at
          the market level, such as the average or median value of certain variables of interest, and
          for simulating the overall, aggregate behavior of the market. This is what I use the HB
          CBC estimates for in this report.

40.       As explained above, the HB CBC method has proven to provide reliable and valid
          conjoint analysis estimates of partworths. It is an appropriate method used to obtain the
          distribution of partworths across consumers when there are a moderate number of choice
          sets in the choice task. In the smartphone and tablet studies described in this report, I
          chose to use 16 choice tasks—a number that I have used in both academic studies and
          studies about which I have testified in litigation. Using 16 choice tasks enables me to
          appropriately balance the number of questions in the survey with the number of
          partworths for which I need to estimate market-level statistics. In my experience, using
          16 choice tasks limits respondent wear-out.25

41.       Because HB CBC estimation is based directly on consumer choices and accounts for
          heterogeneity in consumers’ preferences, it is, in my opinion, an ideal method to


25
      If too many questions were asked of a respondent, then the respondent might “wear out,” that is, response errors
      might increase as the respondent tires. In addition to limiting the number of questions in the choice task to
      minimize wear out, I pretested the questionnaire to assure that respondents did not experience wear out and I
      was satisfied that they did not.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                  Page 20 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 22 of 142




          summarize the effect, if any, of the various features of consumer electronic devices such
          as smartphones and tablets on consumers’ willingness to buy these devices, as well as the
          price premium that consumers are willing to pay for such features. As explained in
          Sections VII and VIII below, I have estimated the effect, if any, that removing one or
          more patent-related features from a Samsung smartphone or tablet has on consumers’
          willingness to buy that product, and the price premium that Samsung consumers are
          willing to pay for each of these patented features.


V.        Survey Design and Administration

42.       To develop the questionnaire, I first consulted with counsel to identify the smartphone
          and tablet features related to the patents I was asked to test. In order to explain these
          features to survey respondents, I used a short name for each feature within a feature
          category, a brief description of that feature, and a short video animation of that feature. I
          understand from counsel that the description of each patent-related feature fairly
          represents how the corresponding patented innovation is used in practice by Samsung in
          its accused smartphones and tablets. The brief descriptions and animations were tested
          and then shown to respondents, as discussed below in Section V.D. For the smartphone
          survey, these tested patents and the short names of related features were as follows:

                    ’647 Patent, with related feature “Quick Links”

                    ’959 Patent, with related feature “Universal Search”

                    ’172 Patent, with related feature “Automatic Word Correction”

                    ’760 Patent, with related feature “Missed Call Screen Management”

                    ’414 Patent, with related feature “Background Syncing”

43.       For the tablet survey, the tested patents and the short names of related features were as
          follows:

                    ’721 Patent, with related feature “Slide to Unlock”

                    ’647 Patent, with related feature “Quick Links”

                    ’959 Patent, with related feature “Universal Search”


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order     Page 21 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 23 of 142




                    ’172 Patent, with related feature “Automatic Word Correction”

                    ’414 Patent, with related feature “Background Syncing”

44.       I instructed Cornerstone to research the features of Samsung smartphones and tablets that
          were discussed in press reviews and Samsung’s public marketing materials. See Exhibit
          D. Under my direction, Cornerstone performed this research and briefed me so that I
          could select the feature categories and levels associated with each category to be used in
          the conjoint analysis. The research was also informative about what consumers perceive
          as a reasonable range for the various smartphone and tablet features. This understanding
          of ranges helped me identify the appropriate levels of the feature categories to include in
          the survey.

45.       I selected the following six feature categories to be included in CBC for smartphones: (a)
          data accessibility, (b) call initiation and screening, (c) input assistance, (d) screen size, (e)
          camera, and (f) price. I selected the following six feature categories to be included in
          CBC for tablets: (a) data accessibility, (b) lock screen interface, (c) input assistance, (d)
          screen size, (e) connectivity, and (f) price. The data accessibility, call initiation and
          screening, input assistance, and lock screen interface categories were designed to
          incorporate the patent-related features as well as related distraction features so as to
          disguise the purpose of the survey. The screen size, camera, and connectivity feature
          categories, and the features they incorporate, are included only for distraction purposes.
          Below, I discuss the language that was used to present the patent-related and other
          features to respondents. I detail how the language was chosen.

46.       In the surveys, all features other than the chosen functionalities and feature categories
          were held constant. The chosen functionalities and feature categories were sufficiently
          independent among themselves and sufficiently independent from feature categories and
          features that were “held constant” that an additive utility model was appropriate.26 Brand
          (say Samsung or Apple) is not a feature category that varies in the first question of the
          conjoint analysis because all products presented to the consumers were hypothetical
          Samsung smartphones or tablets. In the smartphone survey, respondents were instructed:

26
      I review tests of independence in later paragraphs.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order         Page 22 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 24 of 142




          “Please choose your most preferred Samsung smartphone among the four below.”
          Respondents were also instructed that each product has “all other features on [their] most
          recent Samsung smartphone[s].” In the tablet survey, respondents were instructed:
          “Please choose your most preferred Samsung tablet computer among the four below.”
          Respondents were also instructed that each product has “all other features on [their] most
          recent Samsung tablet computer[s].”

47.       The questionnaires were programmed into a PC-based software system designed for
          administering and analyzing such questionnaires. 27 The final questionnaires that
          respondents were asked to complete are shown in Exhibit E (smartphones) and Exhibit F
          (tablets). Respondents answered these questions in the web survey via their computers.
          Exhibit G (smartphones) and Exhibit H (tablets) show reproductions of the computer
          screens. These are examples of the types of screens that respondents viewed. Some
          questions, such as the choice task, were chosen based on algorithms that included
          appropriate randomization to avoid order effects. In each choice task for each respondent,
          the levels of the feature categories were generated randomly, subject to order and level
          balancing using standard methods.


          A.         Pretesting

48.       Questionnaires should use language that respondents find easy to understand and relevant
          to the questions that are being asked. If the questions of interest are ambiguous or
          otherwise unclear, the results of the survey may be impacted due to guessing or
          misunderstanding on the part of respondents. To maximize the clarity of the
          questionnaire, it is useful to gain insight into, for example, how potential respondents
          think about issues relevant to the target of the study, the extent to which potential
          respondents are aware of those issues, and the vocabulary used by potential respondents
          regarding the study target. Therefore, prior to administering the final survey, it is
          important to evaluate (or “pretest”) the proposed series of questions with a small sample
          of “the same type of respondents who would be eligible to participate in the full-scale


27
      I used Sawtooth Software’s SSI Web Version 7.0 package, which is a well-known and widely used software
      system for these types of applications.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order         Page 23 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 25 of 142




          survey.”28 Such pretests help assess the potential for, and remove or minimize, demand
          artifacts and help ensure that all survey questions were understood as intended.29

49.       In June and July, 2013, at my direction, experienced interviewers from AMS pretested
          the smartphone and tablet survey animations and questionnaires with a total of 39 people
          in the United States.30 I have worked with these interviewers before, participated in their
          training, and provided instructions on how to carry out these pretests. I also personally
          listened to some pretest interviews for both surveys. To qualify for a smartphone pretest
          interview, the interviewee was required to be a user of a Samsung smartphone; to qualify
          for a tablet pretest interview, the interviewee was required to be a user of a Samsung
          tablet. The goal of this evaluation was to ensure that respondents could understand the
          proper intent of the questions and answer them appropriately. These responses were used
          solely for pretesting and are not included in the final survey results.

50.       The pretest interviews themselves are verbal debriefs of pretest respondents after the
          respondents have viewed the animations and answered the survey questions. 31 The
          interviewers ask respondents a number of questions so as to facilitate a productive
          discussion, but respondents are encouraged to offer comments and opinions beyond these
          questions. The interviewers tested that respondents understood the written and
          audiovisual description of each feature; that they did not have difficulty with the
          questions and instructions; that they understood the choice exercise they were asked to
          perform; and that they looked at all or almost all of the features in making their choices.


28
      Diamond, Shari S. (2011), “Reference Guide on Survey Research,” in Reference Manual on Scientific Evidence,
      Third Edition, Federal Judicial Center, pp. 359–423, at pp. 388–389.
29
      Diamond, Shari S. (2011), “Reference Guide on Survey Research,” in Reference Manual on Scientific Evidence,
      Third Edition, Federal Judicial Center, pp. 359–423, at pp. 387–389.
30
      The smartphone pretest involved 23 respondents. In the Phase I pretest, 12 respondents were asked specific
      questions about the scripts and animations that explained the patent-related and distraction features. In the Phase
      II pretest, 11 respondents were asked questions to identify any potential demand artifacts or lack of
      comprehension. See Exhibit I1. The tablet pretests involved an additional 16 respondents. In the Phase I pretest,
      4 respondents were asked specific questions about the scripts and animations for the connectivity feature
      category. In the Phase II pretest, 12 respondents were asked questions to identify any potential demand artifacts
      or lack of comprehension. See Exhibit I2. I also conducted a separate set of post-tests that tested comprehension
      of the second stage conjoint question and the incentive alignment language. See discussion below.
31
      See, for example, Urban, Glen L., and John R. Hauser (1980), Design and Marketing of New Products,
      (Englewood Cliffs, NJ; Prentice-Hall, Inc.), p. 179.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                     Page 24 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 26 of 142




          The interviewers’ notes from the pretests can be found in Exhibit I. Information from
          pretesting helped with the design of instructions and in resolving any technical issues
          with the animations and audio used in the surveys. Based on the findings from the
          pretests, I am confident that the phrasing of the questionnaires was comprehensible and
          minimized the potential for guessing.

51.       Finally, at my direction, the interviewers also explicitly tested for demand artifacts,
          asking respondents about their beliefs about the sponsor and purpose of the surveys. No
          demand artifacts were detected in the final phrasing and layout of the questions.
          Respondents did not find the questions to be leading and respondents were not able to
          guess that any particular result was desired by the survey designer. In particular,
          respondents were asked a question about the purpose of each survey—“What do you
          think might be the purpose for conducting this survey?” This question was used to test if
          there was any demand-artifact from respondents’ (correct) speculations on the purpose of
          the surveys. The results showed that none of the respondents were able to identify that the
          surveys were sponsored by Apple, or that the surveys were to be used in a litigation
          context.


          B.         Identifying the Sample

52.       Potential respondents for the two surveys were identified through Research Now, a
          company that has pre-recruited potential respondents who have indicated their
          willingness to participate in market research surveys. Research Now is a well-established
          international market research service firm that maintains an invitation-only panel of over
          6 million panelists worldwide.32 Research Now manages about 2,000 projects per month
          for a variety of clients.33

53.       I have worked with Research Now on a number of other projects and have found them to
          be consistently reliable and a high quality supplier of qualified survey respondents.
          Research Now is a member of several organizations that promote reliability and quality

32
      Research Now, Panels, at http://www.researchnow.com/en-US/Panels.aspx, (visited on August 10, 2013).
33
      Research Now Panel Quality: Our Values, at http://www.researchnow.com/en-
      US/~/media/578E9AB322D5491CA61005CF64005C54.ashx, (visited on August 10, 2013).



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order             Page 25 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 27 of 142




          standards, including the American Marketing Association (“AMA”) and Council of
          American Survey Research Organizations (“CASRO”). 34 Research Now automatically
          checks new panelists for duplicate email addresses at the time for registration. Following
          initial registration, there are additional checks to identify fraudulent panelists and there is
          a regular review of member data to validate identities of panel members.35 As part of the
          panel recruitment process, all panel members complete a questionnaire that includes basic
          demographic information (age, gender, etc.). In addition, panel members have the option
          to answer questions about their personal habits and behaviors (e.g., drinking habits, cell
          phone usage).

54.       Using this information, Research Now was able to target survey invitations to people who
          had indicated that they own smartphones and tablets. Respondents received an initial e-
          mail invitation and one e-mail reminder. See Exhibit J. The invitation included a link to
          the actual survey, which was hosted on a website maintained by AMS. 36 This link
          contained an embedded identification number that assured that only invited respondents
          could answer the survey and that each respondent could complete the survey only once.37
          After clicking on the link from the email invitation, respondents were prompted to a
          browser window with a CAPTCHA challenge to ensure that responses were not
          computer-generated.38 After completing the CAPTCHA challenge, respondents moved to
          the survey.



34
      Research Now Industry Associations, http://www.researchnow.com/en-US/AboutUs/IndustryInvolvement.aspx,
      (visited on August 10, 2013). Research Now also complies with the ICC/ESOMAR International Code of
      Marketing and Social Research Practice. See Research Now, Panels, at http://www.researchnow.com/en-
      US/Panels.aspx, (visited on August 10, 2013).
35
      Research Now Panel Quality: Our Values, at http://www.researchnow.com/en-
      US/~/media/578E9AB322D5491CA61005CF64005C54.ashx, (visited on August 10, 2013).
36
      AMS programmed and hosted the survey.
37
      If a respondent was taking the survey on a tablet, smartphone, or any electronic device other than a desktop or
      laptop computer, he or she was screened and terminated, but was encouraged to start the survey again on a
      laptop or desktop computer. This restriction was added because tablets, smartphones, and other handheld
      devices generally have insufficient screen size to view this survey’s content without extensive scrolling. In the
      case of the tablet survey, respondents who attempted to fill out the survey using a tablet were also sent a second
      invitation with a reminder that they must take the survey on a desktop or laptop computer.
38
      A CAPTCHA challenge refers to a program that protects websites against “bots” (i.e., computer-generated
      responses) by generating and grading tests that humans can pass, but current computer programs cannot. The
      acronym CAPTCHA stands for Completely Automated Public Turing Test To Tell Computers and Humans


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                    Page 26 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 28 of 142




55.       The security steps described above ensure that only panel members receive invitations,
          that the survey is not answered by a “bot,” and that the survey taker cannot take the
          survey more than once. In addition, Research Now is a reputable panel provider which
          itself employs security procedures.39 To provide further validation, each respondent’s age
          and gender were compared to values for those respondents in the panel provider’s
          database. Any respondents whose stated age and gender did not match the values in the
          database were terminated from the survey.

56.       Respondents who qualified and completed the survey were awarded $15 in e-Rewards
          (Research Now) currency. In my experience, honoraria are common in conjoint survey
          research and do not influence the accuracy of the responses. Furthermore, respondents
          were informed that one in 20 respondents would be selected at random to win the option
          for cash and a smartphone or a tablet. As explained further below, this opportunity is part
          of what the marketing field calls “incentive alignment” and helps ensure that respondents
          provide high quality responses.40


          C.         Survey Methodology

57.       In designing and implementing the survey, I followed standard scientific methods to
          maximize the reliability of the survey instrument. My survey design adopted the
          scientific guidelines for surveys conducted for academic, commercial, and litigation




      Apart. See, e.g., “CAPTCHA: Telling Humans and Computers Apart Automatically,” CAPTCHA,
      http://www.captcha.net/, (visited on August 10, 2013).
39
      Research Now uses several techniques to identify legitimate respondents. They have an extensive panel member
      verification process, and use “Digital Fingerprinting” to ensure that multiple responses are not obtained from
      the same computer. They also use “Geo-IP Validation” to identify the geographic location of the respondent. If
      there is a discrepancy between the targeted location of the survey and the location of the respondent’s computer,
      the respondent is blocked from taking the survey. See, http://www.researchnow.com/en-
      US/Panels/PanelQuality/ResearchIntegrity.aspx, (visited on August 5, 2013).
40
      For examples of academic studies using incentive alignment in conjoint analysis, see Ding, Min, Rajdeep
      Grewal, and John Liechty (2005), “Incentive-Aligned Conjoint Analysis,” Journal of Marketing Research, 42,
      1, (February), pp. 67–82; Ding, Min (2007), An Incentive-Aligned Mechanism for Conjoint Analysis, Journal
      of Marketing Research, 44, 2, (May), pp. 214–223; Ding, Min, John R. Hauser, et al. (2011), Unstructured
      Direct Elicitation of Decision Rules, Journal of Marketing Research, 48, 1, (February), pp. 116–127.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                   Page 27 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 29 of 142




          purposes.41 I describe my methodology in greater detail below. For the full sequence of
          survey questions, see Exhibit E and Exhibit F.

58.       Double-blind design. It is standard survey practice to avoid indicating the sponsor and/or
          purpose of the survey to ensure respondents’ objectivity. According to the Reference
          Manual on Scientific Evidence, “the survey instrument should provide no explicit or
          implicit clues about the sponsorship of the survey or the expected responses. Explicit
          clues could include a sponsor’s letterhead appearing on the survey; implicit clues could
          include reversing the usual order of the yes and no response boxes on the interviewer’s
          form next to a crucial question, thereby potentially increasing the likelihood that no will
          be checked.” (emphasis in original; footnote omitted). The goal of the survey design is to
          make the respondent “blind” to the sponsor and purpose of the survey.42

59.       The design and administration of my survey can be characterized as blind to the
          respondent (as evidenced by the pretests). Because the survey was administered via the
          Internet, respondents were not exposed to human interviewers, thereby eliminating the
          possibility of an interviewer communicating the sponsor or purpose of the survey and
          influencing the outcome (intentionally or not). An Internet-based survey avoids demand
          artifacts that might be induced by means of intonation or facial expressions during the
          delivery of particular questions or answers. An Internet-based survey removes, or at least
          greatly diminishes, any “interviewer bias” which may arise from the desire of the
          respondents to please, displease, or impress the interviewer. (One might say that the
          computer was blind to the outcome; hence the study was double-blind.)

60.       Introductory/screener questions. Introductory or “screener” questions help to identify
          members of the target population and determine whether respondents meet the criteria
          (qualify) for inclusion. In drafting introductory questions, I was careful not to convey




41
      See, e.g., many of the recommendations in Diamond, Shari S. (2011), “Reference Guide on Survey Research,”
      in Reference Manual on Scientific Evidence, Third Edition, Federal Judicial Center, pp. 359–423.
42
      See, e.g., Diamond, Shari S. (2011), “Reference Guide on Survey Research,” in Reference Manual on Scientific
      Evidence, Third Edition, Federal Judicial Center, pp. 359–423, at pp. 410–411.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order               Page 28 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 30 of 142




          information that would influence responses to the main survey or otherwise provide
          respondents with information that otherwise would not occur to them.43

61.       The inclusion of unrelated answer options in closed-ended respondent qualification
          questions serves to distract respondents from an item of interest.44 Such questions and
          answer options help to conceal from the respondents the intention of the survey and to
          minimize the potential for demand artifacts. For example, if a survey is conducted to
          determine whether respondents might be interested in a particular movie, the survey can
          ask the respondent to select the movies in which he or she is interested, providing a set of
          movie options including the movie of interest. The other movies within the option set
          would help mask the target of the survey, and would therefore serve to distract the
          respondent from the purpose of the study. In the smartphone survey, to restrict the sample
          to the target group, i.e., owners of the Samsung smartphones, I asked respondents in
          Question S7 “In the past twelve months, which of the following brands of smartphones
          have you personally owned?” To minimize demand artifacts, I provided unrelated options
          such as Apple, Blackberry, HTC, LG, Motorola, Nokia, and Sony Ericsson, in addition to
          Samsung. Analogous questions were used in the tablet questionnaire.

62.       I also used low-incidence screening questions as well as logic links between screening
          questions to identify and filter professional survey takers, if any, who, in order to increase
          their chances of earning award points, might not answer the questions, especially
          screening questions, truthfully. For example, in Question S7b, if a respondent indicated
          that he owned more than three Samsung smartphones in the past 12 months, which is less
          likely for a normal respondent, he would be asked Question S7c, “In the past 12 months,
          which, if any, of the following brands of portable GPS have you personally owned?” The
          respondent would be terminated if he again selected more than three brands of portable

43
      See, for example, Diamond, Shari S. (2011), “Reference Guide on Survey Research,” in Reference Manual on
      Scientific Evidence, Third Edition, Federal Judicial Center, pp. 359–387, at pp. 386–387; Smith, D. M., N.
      Schwarz, T. R. Roberts, and P. A. Ubel (2006), “Why are you calling me? How study introductions change
      response patterns,” Quality of Life Research, 15, pp. 621–630.
44
      “Closed-ended” questions provide the respondent with a set of potential responses (answer options) from which
      to choose. These are distinct from “open-ended” questions, which allow the respondent to formulate his/her
      own answers. For a discussion of closed-ended and open-ended questions, see Diamond, Shari S. (2011),
      “Reference Guide on Survey Research,” in Reference Manual on Scientific Evidence, Third Edition, Federal
      Judicial Center, pp. 359–423, at pp. 391–394.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                Page 29 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 31 of 142




          GPS devices in Question S7c. This is because it is unlikely that a normal respondent
          would own both more than three Samsung smartphones and more than three brands of
          portable GPS devices in the past 12 months. The respondent would also be terminated if
          he did not indicate that he owned a portable GPS device in the past 12 months in
          Question S6, but selected one or more brand of portable GPS devices in Question S7c.
          Such filter mechanisms reduced the chance that the survey results would include
          professional survey takers.

63.       Respondents were also required to have owned at least one of the Samsung products at
          issue within the last 12 months. Because respondents were allowed to select more than
          one product from the list of products at issue, they were also asked to indicate the most
          recently purchased product. This product was designated as the “most recent” product for
          the remainder of the survey.45 Respondents were also required to have played a role in the
          decision to purchase their most recent Samsung product. Respondents’ answers to these
          questions allowed me to include only appropriate respondents in the survey. Screening
          statistics are reported in Exhibit K.

64.       In addition, participants could not be employed by (or have a member of their household
          who was employed by) a consumer electronics seller, a marketing or market research
          firm, a public relations firm, or an advertising agency. These screens are standard security
          questions and do not bias the results.

65.       Filters. To avoid influencing respondents’ answers and survey results and to minimize
          answers from uninformed respondents, carefully designed surveys include “filters.”
          Filters are questions and/or answer options that eliminate respondents who are not
          relevant or who do not have opinions.46

66.       I used full-filters in my survey questions and answer options. Appropriate questions in
          my survey included the option of “Don’t know/Unsure.” For example, in Question S7d I


45
      Smartphone survey: “QS7b. Which one of the following Samsung smartphones that you owned was purchased
      most recently? This will be referred to as your most recent Samsung smartphone for the rest of this survey.”
46
      Diamond, Shari S. (2011), “Reference Guide on Survey Research,” in Reference Manual on Scientific Evidence,
      Third Edition, Federal Judicial Center, pp. 359–423, at pp. 389–391.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order               Page 30 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 32 of 142




          ask respondents “Which one of the following Samsung smartphones that you owned was
          purchased most recently?” Respondents that selected “Don’t Know/Unsure” were
          terminated. By employing filters, I avoided asking questions of respondents that might
          not be relevant and asking respondents to express a belief when the respondent had none
          or was not sure.

67.       Rotation of answer options. In closed-ended questions with several answer options,
          respondents might be more likely to choose an option simply because it is first or last on
          the list. Such phenomena are known as “order effects.”47 To avoid order effects, I rotated
          answer options so that different respondents see the options in different orders and any
          possible order effects cancel out across respondents. There are standard exceptions to the
          rotation rules. For example, certain options—such as “Other,” “None of the above,” and
          “Don’t know / Unsure”—always come last in order for the question to preserve logical
          flow. Another exception to answer rotation occurs when answer options come in a certain
          logical order, such as those for age brackets. In such circumstances, answer options are
          usually not rotated.

68.       I rotated answer options in the introductory questions and closed-ended filter questions,
          where it was appropriate. For example, in Question S7 (smartphone questionnaire) I
          asked the respondents “In the past twelve months, which of the following brands of
          smartphone have you personally owned?” I rotated the order of the various brands of
          smartphone so that Samsung (the brand of interest) was not appearing first or last for all
          respondents.

69.       Incentive alignment. Data used in conjoint analysis is generally collected in hypothetical
          settings, such as the two surveys conducted in this matter. Respondents in these surveys
          are rewarded for their participation, usually by a fixed amount, such as the $15 e-
          Rewards in the surveys described here. The respondents in a survey can be provided with
          further incentives to make choices consistent with their true preferences via use of
          mechanisms that tie the rewards they get to the choices they make in the survey. This is


47
      For a discussion of order effects, see Diamond, Shari S. (2011), “Reference Guide on Survey Research,” in
      Reference Manual on Scientific Evidence, Third Edition, Federal Judicial Center, pp. 359–423, at pp. 395–396.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                Page 31 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 33 of 142




          known as “incentive alignment.” Recent research suggests that incentive alignment may
          result in great respondent involvement, low boredom, and high data quality with strong
          external validity such as when paired with estimating marketplace attractiveness.48

70.       In the two surveys in the instant matter, I incorporated a mechanism to ensure that the
          respondents’ answers are incentive aligned. The respondents in the smartphone survey
          were advised that: (i) 1 in every 20 respondents would be picked at random to win the
          option of receiving a free smartphone as a prize, (ii) the smartphones offered to the
          winning respondents would be based on the choices each winning respondent made in the
          survey with regard to feature categories that varied in the survey, (iii) the features with
          regard to feature categories that did not vary in the survey would be chosen to be as close
          as feasible to those of the smartphone they otherwise would have chosen in the
          marketplace, (iv) if the smartphone offered to a winning respondent was priced less than
          $300 and if the respondent chose the offered smartphone, the respondent would also get
          the difference in cash. The tablet survey includes a similar mechanism that consists of
          offering an option to receive a tablet to 1 in every 20 respondents, where the option
          would be based on the respondents’ choices in the survey. If the tablet offered to the
          winning respondent was less than $600 and the respondent chose it, the respondent would
          get the difference in cash. Specifically, for smartphones, respondents were told (emphasis
          in the original):

               “We want to reward you for thinking carefully about the choices that you
               make in this survey. Therefore, we will randomly pick 1 out of every 20
               respondents who take this survey and pay for their next smartphone.
               If you are one of the lucky respondents, you will be offered a free
               smartphone under the following conditions:

                    If you wish to participate in the free smartphone offer, you will please
                     volunteer to tell us about your top-choice smartphone when you decide
                     to replace your existing smartphone with a new smartphone under a
                     new contract.

48
      For examples of academic studies using incentive alignment in conjoint analysis, see Ding, Min, Rajdeep
      Grewal, and John Liechty (2005), “Incentive-Aligned Conjoint Analysis,” Journal of Marketing Research, 42,
      1, (February), pp. 67–82; Ding, Min (2007), An Incentive-Aligned Mechanism for Conjoint Analysis, Journal
      of Marketing Research, 44, 2, (May), pp. 214–223; Ding, Min, John R. Hauser, et al. (2011), Unstructured
      Direct Elicitation of Decision Rules, Journal of Marketing Research, 48, 1, (February), pp. 116–127.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order             Page 32 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 34 of 142




                    We will then offer you a free smartphone based on your top-choice
                     smartphone as well as the choices that you make in this survey. Except
                     for the phone features that will vary in this survey, the free smartphone
                     we offer you (based on your responses in this survey) will match your
                     top-choice smartphone as closely as possible.

                    If the free smartphone we offer you is priced less than $300 under
                     contract, you will get the difference in cash. For example, if the market
                     price of the smartphone that we offer you is $199 under contract, you
                     will receive that smartphone plus $101 in cash ($300 - $199 = $101),
                     if you accept the offer. If you chose to reject the offer, you forgo the
                     reward.

                    Because your answers will determine the smartphone that we
                     offer, it is in your best interest to think hard about the questions
                     and answer them to reflect your preferences. Therefore, please
                     think carefully when:

                     o Choosing your most preferred smartphone among the
                       alternatives shown;

                     o Deciding whether or not to actually buy that smartphone given
                       the availability of other smartphones in the market.”

71.       The incentive alignment mechanism I incorporated in the surveys further provides
          incentives for the respondents to think hard about the questions in the survey and answer
          the questions to reflect the respondents’ true preferences because the respondents’
          answers determine the reward option they would get, should they be chosen to receive an
          option on a new smartphone. I instructed AMS to conduct interviews to investigate
          whether the respondents understood the explanation of the incentive alignment
          mechanism presented to them. Experienced AMS interviewers conducted interviews with
          17 respondents. 49 I participated in several of the interviews. The interview results
          demonstrate that the respondents understood that the rewards they would get would be
          based on their preferences as reflected in their answers to survey questions. (See Exhibit
          L.)




49
      This included fourteen respondents to the smartphone survey and three respondents to the tablet survey. See
      Exhibit L.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order              Page 33 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 35 of 142




          D.         Survey Implementation

72.       Once respondents passed through the screening questions, they had to go through an
          animation and audio test to ensure that they would be able to view the animation and hear
          the audio during the conjoint exercise. If their computer and internet connection passed
          the test, they were introduced to the features and feature category levels used in the
          conjoint analysis.

73.       In order to obtain reliable data from a conjoint exercise, it is important to have clear
          descriptions of the features and feature category levels. The specific technical
          descriptions of the patent-related features were provided to me by counsel. I have not
          reviewed or interpreted the patent claims myself and do not have a professional opinion
          on that matter.

74.       The specific language used to describe the Background Syncing, Universal Search, and
          Automatic Word Correction patent-related features included in the smartphone [tablet]
          survey was as follows:

                    Background Syncing. The Background Syncing feature allows you to
                     continue to use an app while data related to that app that is stored on your
                     smartphone [tablet] synchronizes with data stored elsewhere, such as on a
                     remote computer. For example, you can access and edit data, such as the
                     list of contacts on your smartphone [tablet], even as your phone [tablet] is
                     sending data for those contacts to your work computer. Without this
                     feature, you would have to wait to use an app, for example the contacts
                     app, while the data for the app is synchronizing with a remote computer,
                     and that wait may be long or short.

                    Universal Search. Universal Search lets you use a single search to find
                     information from different sources of information, for example data stored
                     on your smartphone [tablet] as well as information found on the Internet.
                     Universal Search uses different rules of thumb for searching the different
                     sources in order to find good results tailored to each source. For example,
                     when you type “George” in a single search box, the feature searches the
                     Internet for “George,” which might yield web pages about George
                     Washington, and at the same time searches for “George” stored on your
                     smartphone [tablet], which might retrieve “George Adams” from your
                     contacts or songs by “George Michael” from your music files. Without
                     Universal Search, you would have to separately search each information
                     source, for example searching the Internet in a browser or for your
                     contacts within your contacts application.


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order       Page 34 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 36 of 142




                    Automatic Word Correction. As you type, your smartphone [tablet]
                     displays text you typed in a text box, and at the same time provides
                     suggested replacement text in a separate box alongside the text box that
                     displays what you actually typed. The Automatic Word Correction feature
                     allows you to automatically replace your original text with suggested text
                     when, for example, you press space to move on to the next word you want
                     to type, or you press period to end the sentence. For example, if you type
                     “birfday” and then press space or period, you will automatically replace it
                     with “birthday.” Without this feature, pressing space or period would
                     retain your original text, “birfday”; if you want to replace your original
                     text, you would need to select the suggested “birthday” yourself.

75.       The Quick Links and Missed Call Screen Management patent-related features were
          described as follows in the smartphone survey:

                    Quick Links. When you are viewing text on your smartphone (for
                     example in an email), the Quick Links feature automatically detects
                     certain types of data (such as phone numbers or email addresses) and
                     enables you to choose among multiple actions to perform on that data. For
                     example, this feature will automatically detect a phone number displayed
                     in an email, and if you press and hold the phone number, it will offer you
                     multiple actions such as calling or texting the number, or adding it to your
                     contacts folder. Without this feature, if you wanted to take various actions,
                     like calling or texting a number, you would have to manually identify and
                     select the exact text that might be data to take actions on.

                    Missed Call Screen Management. The Missed Called Screen
                     Management feature allows you to return a missed call or respond to the
                     caller by listing the missed calls and providing you with two interactive
                     areas to take further action. If you touch one area, such as the picture of
                     the missed caller, John Doe, you call John Doe back. If you touch the
                     other area, such as John Doe’s name or phone number, then the feature
                     takes you to a new screen that displays all of John Doe’s contact
                     information. From the new screen, you can call John Doe, text him, or
                     email him. Without two areas you would have to remember to use
                     different gestures to take different actions—like tapping John Doe’s entry
                     on the missed calls list to call him back but swiping his entry to view his
                     contact information.

76.       Finally, the Quick Links and Slide to Unlock patent-related features were described as
          follows in the tablet survey:

                    Quick Links. When you are viewing text on your tablet (for example in
                     an email), the Quick Links feature automatically detects certain types of
                     data (such as phone numbers or email addresses) and enables you to


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order        Page 35 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 37 of 142




                     choose among multiple actions to perform on that data. For example, this
                     feature will automatically detect an email address displayed in an email,
                     and if you press and hold the email address, it will offer you multiple
                     actions such as sending an email to the address or copying the address.
                     Without this feature, if you wanted to take various actions, like sending an
                     email, you would have to manually identify and select the exact text that
                     might be data to take actions on.

                    Slide to Unlock. The Slide to Unlock feature prevents unintentional
                     unlocks by unlocking your tablet only when you slide an image, using one
                     continuous motion, from a specific spot on the lock screen to another
                     specific spot on the screen. Without this feature, you would have to unlock
                     your device using other techniques, for example by swiping the lock
                     screen from any random spot on the screen to any other random spot that
                     was far enough away, which may make unintentional unlocks more likely.

77.       For determining the descriptions of the distraction functionalities, I instructed
          Cornerstone to review Samsung documents, such as product manuals, and materials from
          third-party sources, such as product reviews, to determine how these features are
          explained to consumers. I then worked with Cornerstone to create descriptions for
          distraction features that are consistent with the descriptions in these materials. The
          resulting descriptions and sample source materials for each feature are presented in
          Exhibit D. For example, in the smartphone survey, the description for the Best Photo
          functionality is:

                     “The Best Photo feature allows you to automatically capture eight photos
                     of whatever you are taking a picture of so that you can choose the best
                     single photo to keep. For example, if you want to have a picture of a hot
                     air balloon, the Best Photo feature will take eight successive photos
                     automatically so that you can select the one photo of that hot air balloon
                     that you feel is best and discard the rest.”

78.       This description is consistent with Samsung’s How-To Guides for Samsung Galaxy S III:

                     “You can also enable a feature called Best photo. The Best photo option
                     will capture eight photos and select the best one. To turn the Best photo
                     feature on, touch on at the top-left of the screen.

                     Aim the camera at your subject and touch the area you want to focus on.
                     When the focal point turns green, touch and hold the camera shutter
                     button. Your camera will capture eight images in quick succession, thanks
                     to its zero shutter lag. You will be taken to a review screen, and you will
                     be shown the best picture first. You can touch and hold the thumbnails to


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order       Page 36 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 38 of 142




                     add more shots to the Best photo list. Selected pictures will appear with a
                     thumbs-up icon. When you have marked all of the Best shots, touch Done
                     to save those pictures to the album and discard the rest.”50

79.       To enhance respondents’ understanding of features and the different levels within that
          feature category, I used both visual descriptions (icons) and carefully tested animations.51
          I directed Cornerstone Research and AMS to work with a graphics firm that designed
          icons and animations (with audio) for each feature.52 The scripts of audio voiceovers used
          in these animations were the same as the feature descriptions discussed above. I
          personally provided input as to the precise nature of the animations and the content of the
          audio, i.e. the descriptions of the features. Pretesting showed that respondents found these
          animations to be useful and easy to understand. I personally listened to some of these
          pretests to ensure that they were conducted professionally and with care. In order to avoid
          demand artifacts, I presented all of the features visually. For this survey, I chose to
          include animations for all features, not just patent-related features.

80.       Before beginning the conjoint choice tasks, the respondents viewed the descriptions of
          the various features and feature category levels, including animations and graphics. Price
          was always the first feature category presented. The order of presentation for the other
          five feature categories in each survey was randomized across respondents. In order to
          ensure that they understood the conjoint tasks, respondents were also shown a tutorial
          animation after they had been presented with the animations explaining the features in the
          levels of each feature category. The following sequence for the presentation of feature
          categories was chosen within the tutorial animation for the smartphone survey: (a) price,
          (b) camera, (c) data accessibility, (d) screen size, (e) call initiation and screening, and (f)
          input assistance. The following sequence was chosen for the tutorial animation for the
          tablet survey: (a) price, (b) connectivity, (c) data accessibility, (d) screen size, (e) lock
          screen interface, and (f) input assistance. These sequences were chosen to minimize any

50
      Samsung How-To Guides for Samsung Galaxy S III at
      http://www.samsung.com/us/support/SupportOwnersFAQPopup.do?faq_id=FAQ00048004&fm_seq=52144,
      (visited on July 29, 2013).
51
      A good conjoint design makes use of graphics. See, for example, Selove, Matthew, and John R. Hauser (2011),
      “The Strategic Importance of Predictive Uncertainty in Conjoint Design,” Working Paper.
52
      Impact Trial Consulting was hired for the purpose of doing the animations and audio.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order              Page 37 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 39 of 142




          order effects which may arise. (As described in subsequent paragraphs, feature categories
          and levels were randomized in the actual choice tasks.)

81.       The sequence of presentation for the levels within each feature category was standardized
          for each feature category. For feature categories that were composites of multiple
          features, each feature was introduced in the order in which it appears within the feature
          category levels. For example, within the camera feature category, all levels included the
          panorama feature, so the panorama feature was then introduced first. For price and screen
          size, all four levels were introduced at the same time.

82.       After being introduced to the features and levels of feature categories, and viewing the
          tutorial animation, respondents were introduced to the conjoint task and shown a series of
          16 screens (choice tasks) containing four alternative smartphone (or tablet) options that
          were described by combinations of the feature category levels. The order in which all
          feature categories, except price, were listed was randomized across respondents (e.g., for
          some respondents camera would appear at the bottom and for other respondents screen
          size would appear at the bottom). Price always appeared at the top, just as it does in many
          product comparison websites.53 However, for any given respondent, the order of feature
          categories was the same across the 16 choice tasks. Levels of feature categories included
          in each smartphone or tablet were randomized within and across the 16 choice tasks for
          each respondent.

83.       Respondents were also shown a seventh feature category while making their choices.
          This category was labeled “With all other features on your most recent Samsung
          smartphone [tablet computer]” and did not vary across products (i.e. it was presented
          with the same description across the four options available to the respondent in the first
          stage of each choice task). These instructions were provided to focus respondents on
          making relative choices holding all other potential levels of feature categories of
53
      For example, see a comparison of the Samsung Galaxy S III and Samsung Galaxy S 4 at the AT&T Wireless
      website (http://www.att.com/shop/wireless/devices/comparephone.html?sku=sku6580454&sku=sku6100225,
      visited on August 4, 2013); a comparison of the Samsung Galaxy S III and Samsung Fascinate at the CNET
      website (http://reviews.cnet.com/4504-6452_7-0.html?id=35326382&id=34129372, visited on August 4,
      2013)),     or      a     comparison      of     various     tablets      at     the     Staples      website
      (http://www.staples.com/sbd/cre/marketing/technology-research-centers/tablets/compare-tablets.html, visited on
      August 5, 2013).



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                 Page 38 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 40 of 142




          smartphones [tablets] constant so that choices are being made with “all else equal.” Any
          additional impact of factors not included in the survey is captured mathematically by a
          term in each respondent’s utility. This term is often referred to as the “residual term” in
          the literature. The additive nature of the utility function further assures independence. (I
          describe tests for higher level interactions in a subsequent paragraph.)

84.       For each set of four alternative smartphones in a choice task, respondents were asked:
          “Please choose your most preferred Samsung smartphone [tablet computer] among the
          four below.” By focusing respondents on the four products provided to them, the survey
          was designed with the goal that respondents would not make comparisons, at this first-
          question stage, with other devices available in the marketplace.

85.       For each choice task, respondents were also presented with a second question. They were
          instructed as follows: “In answering this question, you may wish to consider the
          availability of other smartphone [tablet computer] options in the market that may
          influence your purchase decision, including smartphones [tablet computers] by other
          manufacturers or other Samsung smartphones [tablet computers]. Given the Samsung
          smartphone [tablet computer] you chose as your most preferred among the alternatives
          shown, would you buy it at the indicated price?” (Emphasis in original.) They then had
          the option to choose either (a) “Yes, I would buy the smartphone [tablet computer]
          above,” or (b) “No, I would not buy the smartphone [tablet computer] above.”

86.       This second question is designed to estimate the minimum level of attractiveness
          necessary for respondents to purchase the smartphone or tablet, that is, to choose not to
          choose among the options (this is also known as the “no-choice” option).54 Under my
          direction, the interviewers at AMS tested 17 respondents on their comprehension of this
          question. I participated in some of these interviews and am confident that respondents
          properly understood the question. Findings from these interviews are presented in Exhibit
          L.


54
      Jeff D. Brazell, Christopher G. Diener, Ekaterina Karniouchina, William L. Moore, Válerie Séverin, and Pierre-
      Francois Uldry (2006), “The no-choice option and dual response choice designs,” Marketing Letters, 17, 4,
      (December).



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                 Page 39 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 41 of 142




87.       As discussed above, each choice in the first portion of a choice task by each respondent
          provides three inequality constraints because the chosen product is preferred to each of
          the other three products. The choice in the second portion of a choice task provides an
          additional inequality constraint for a total of four inequality constraints. Sixteen sets of
          questions give 64 inequality constraints. For “N” respondents, there are 64 × N inequality
          constraints in groups of 64. For example, with N = 500, there are 32,000 inequality
          constraints. The inequality constraints derived from respondent choices, combined with
          the inequality constraints from consumer-behavior theory, are used by HB CBC to
          estimate the market-level distributions of partworths.55 The products in the choice task
          were chosen randomly in such a way to ensure that they were order and level balanced.
          The designs were highly efficient in that the designs provided estimates of partworths
          with high precision.56

88.       Following these sixteen choice tasks, the survey was concluded. A total of 671
          respondents completed the smartphone survey beginning on July 6, 2013, and ending on
          July 15, 2013. A total of 607 respondents completed the tablet survey beginning on July
          18, 2013 and ending on July 30, 2013. The completion rate was 98.5% and 99.1% for the
          smartphone and tablet surveys respectively.57 Details are provided in Exhibit K.

89.       Earlier I discussed screener questions to help include only appropriate respondents in the
          survey. Prior to estimating partworths, I set additional criteria to consider removing

55
      Technically, this is a Bayesian procedure in which the best update of the partworths are obtained based on the
      data. This means that I represent all of the information about the partworths, including the means, medians,
      covariances, and other statistics. For brevity I refer to these complicated descriptions as simply the estimates of
      the partworths.
56
      The efficiencies for both the smartphone and tablet surveys were 100%. For more technical descriptions see
      Sawtooth Software Technical Paper (2008), “The CBC System for Choice-Based Conjoint Analysis.” Sawtooth
      Software Research Paper (2000), “An Overview and Comparison of Design Strategies for Choice-Based
      Conjoint Analysis.” Efficiencies were 100% for the complete-enumeration randomized designs.
57
      Smartphones: Out of the total 73,632 participants invited for the smartphone survey, 11,840 began the survey,
      resulting in a response rate of 16.1%. Out of the total 11,840 participants who began the smartphone survey,
      173 chose to terminate the survey themselves, resulting in a completion rate of 98.5%. Out of the total 11,840
      participants who started the smartphone survey, 671 passed through the screening questions and qualified for
      the choice tasks, resulting in an incidence rate of 5.7%. Tablets: Out of the total 62,301 participants invited for
      the tablet survey, 14,757 began the survey, resulting in a response rate of 23.7%. Out of the total 14,757
      participants who began the tablet survey, 130 chose to terminate the survey themselves, resulting in a
      completion rate of 99.1%. Out of the total 14,757 participants who started the tablet survey, 607 passed through
      the screening questions and qualified for the choice tasks, resulting in an incidence rate of 4.1%.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                     Page 40 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 42 of 142




          respondents who may not have paid sufficient attention during the sixteen choice tasks.
          Such data screening is common and standard practice to ensure that the final sample is
          reliable. Specifically, I used the following criteria to consider removing respondents in
          order to enhance the reliability of the survey:

                    Straight-lining: if a respondent chose the same option (e.g., the first option
                     or the last option) for at least 15 of the 16 choice tasks.

                    Devices owned: if a respondent indicated that they owned a total of five or
                     more (Samsung and other) smartphones [tablets].

                    Non-valid Samsung smartphone [tablet]: if an otherwise qualified
                     respondent also indicated that he or she had a Samsung smartphone
                     [tablet] that was not among the options presented (i.e. together with an
                     infringing Samsung product, the respondent also chose the “Other” option
                     in QS7b), but entered a non-valid Samsung smartphone [tablet] name
                     when prompted to specify.

                    Fast respondents: if a respondent was among the fastest 10% of the
                     respondents in terms of the time taken to complete the choice exercises.

                    Slow respondents: if a respondent was among the slowest 10% of the
                     respondents in terms of the time taken to complete the choice exercises or
                     if the respondent completed the survey more than five hours after starting
                     it.

90.       After applying these criteria, a sample of 507 respondents was obtained for smartphones
          and a sample of 459 respondents was obtained for tablets. The results that follow are
          based on these samples.


VI.       Estimation of Partworths

91.       I estimate distributions of partworths for the levels of feature categories of smartphones
          and tablets using software developed by Sawtooth Software, Inc. The software uses a
          Hierarchical Bayes procedure that analyzes the data to obtain the best possible estimate
          of the distribution of partworths given the data.58




58
      Sawtooth Software HB CBC Module for Hierarchical Bayes Estimation, Version 5.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order         Page 41 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 43 of 142




92.       The two surveys provide a wealth of information (inequality constraints) regarding the
          distribution of relative partworths for the different levels of each feature category. In the
          following paragraphs I illustrate the data for the smartphone and tablet surveys using the
          example in Table 3 below. For ease of illustration, this example asks a respondent to
          choose between two smartphones rather than among four smartphones as in the actual
          smartphone survey. Suppose a respondent chooses between the two smartphones in Table
          3. The respondent’s choice of Smartphone 1 indicates that he or she prefers the bundle of
          feature-levels that describe Smartphone 1 relative to the bundle of feature-levels that
          describe Smartphone 2.




Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order     Page 42 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 44 of 142




                           Table 3: A Hypothetical Respondent’s Choices

                                                        Smartphone 1                       Smartphone 2

             Price                                      $99                                $49

             Camera                                     Panorama                           Panorama, Best Photo

             Data Accessibility                         Notification Bar,                  Notification Bar,
                                                        Background Syncing,                Background Syncing
                                                        Quick Links

             Screen Size                                5.0”                               4.8”

             Call Initiation and                        Three-Way Calling,                 Three-Way Calling,
             Screening                                  Reject Call with Message           Reject Call with Message

             Input Assistance                           Copy-Paste, Voice to               Copy-Paste, Voice to
                                                        Text                               Text


             With all other features on                 All other features on your         All other features on your
             your most recent                           most recent smartphone             most recent smartphone
             smartphone


             Question 1: Please choose your most preferred Samsung smartphone
             Answer 1: Smartphone 1

             Question 2: In answering this question, you may wish to consider the availability of
             other smartphone options in the market that may influence your purchase decision,
             including smartphones by other manufacturers or other Samsung smartphones. Given
             the Samsung smartphone you chose as your most preferred among the alternatives
             shown, would you buy it at the indicated price?
             Answer 2: Yes




93.       The two smartphones in Table 3 differ in their levels of price, camera, data accessibility,
          and screen size. In this illustration, the two smartphones do not differ on call initiation
          and screening and on input assistance.59 Consumer behavior theory suggests that, all else


59
      In the smartphone and tablet surveys, the levels of all feature categories were varied.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                    Page 43 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 45 of 142




          equal, the respondent would prefer the $49 price of Smartphone 2 to the $99 price of
          Smartphone 1. A respondent’s preference of one of the smartphones over the other in
          terms of the camera category will depend on whether the respondent values the Best
          Photo feature. Similarly, the respondent’s preference of one product over another will
          also depend on whether they value the Quick Links feature, on whether they prefer a 5.0”
          screen or a 4.8” screen, and how much they value paying a lower price. Because
          Smartphone 1 was chosen over Smartphone 2, the corresponding inequality constraint
          indicates that the combination of the Quick Links feature and going from a 4.8” to a 5.0”
          screen was more important to this respondent than having the Best Photo feature and
          paying $49 instead of $99. If the choice is among four products instead of two, the
          information about relative partworths would be substantially more. Even more
          information is gained when the respondent makes 16 such choices. The fact that the
          hypothetical respondent chose that he or she would actually buy Smartphone 1 also
          provides an additional relative partworth inequality that indicates that the particular
          combination of features that made up Smartphone 1 has sufficient attractiveness to be
          purchased when compared to all other smartphones, including other Samsung
          smartphones, in the marketplace.

94.       In both the smartphone and tablet surveys, a product is characterized by six feature
          categories. Each feature category has four levels, which implies three relative partworths
          per feature category. Thus, I need to estimate 18 relative partworths (i.e., 6 feature
          categories × 3 relative partworths for each) to describe preferences for the smartphone or
          tablet products included in the survey. I also need to estimate an additional relative
          partworth for the minimum level of attractiveness. This is a total of 19 partworths.
          Consistent with Bayesian methods, I “sample” from the (posterior) distribution of the
          partworths using Bayes’ Rule. 60 I use summary statistics to describe either the
          distribution or the implications of the distribution. For example, I can obtain estimates for
          the median partworths, the mean partworths, or the variation over the population in those
          partworths. To calculate the mean partworths, there are 19 means—one mean for each


60
      See Gelman, Andrew, John Carlin, Hal Stern, and Donald Rubin (2004), Bayesian Data Analysis, Second
      Edition, (Chapman & Hall), at pp. 7–9.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order       Page 44 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 46 of 142




          partworth. To calculate the covariance of the partworths over the population of
          consumers, there are 171 covariances and 19 variances.61 The data from the smartphone
          and tablet surveys are sufficient to estimate this number of parameters with reasonable
          precision based on the approximately 32,000 inequality constraints (smartphone survey)
          or 29,000 inequality constraints (tablet survey) from the respondents’ answers to the
          choice tasks combined with constraints from consumer behavior theory.62 For example,
          consumer behavior theory predicts that, when comparing Smartphone 1 to Smartphone 2
          in Table 3, it was natural to assume that the respondent would prefer paying a lower price
          to paying a higher price. I incorporate this information into the estimation using routine
          options in the Sawtooth Software HB estimation software.


          A.         Testing the Fit and Predictive Ability of the Model

95.       Based on the number of inequality constraints from the conjoint surveys, I expect
          reasonably precise estimates of the market-level partworth distributions.63 I confirm this
          expectation by testing the predictive ability of the model.

96.       An analogy may be helpful to understand the relationship of the number of parameters
          and the number of “data points.” Consider the following simple example from classical
          linear regression. Suppose information is available on the height of children of a certain
          age and the heights of their parents. One can fit a regression model that predicts the
          height of each child using the heights of his or her parents, based on the average
          relationship between the heights of parents and children within the observed sample. This
          average relationship could then be used to make predictions about the heights of other
          children if one was given information on the heights of these children’s parents. These
          predictions would not be perfectly accurate, but if the initial sample was large, we would
          expect them to be right on average. If the model had instead been estimated on data for a
          single child, the model would perfectly fit the data within this sample of one. For
61
      There are 192 elements in a covariance matrix of which 19 are variances and 19 × 18 are covariances. However,
      a covariance matrix is symmetric, hence there are only (19 × 18) ÷ 2 (= 171) unique covariances.
62
      Smartphones: 507 respondents imply 32,448 inequality constraints. Tablets: 459 respondents imply 29,376
      inequality constraints.
63
      Technically, I obtain reasonably precise estimates of the parameters that describe those distributions, such as
      medians, means, and covariances. For simplicity I refer to these as the market-level partworth distribution.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                  Page 45 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 47 of 142




          example, if the child’s height was 6 feet and the parents’ heights were 5 feet each, the
          model would perfectly fit the data, predicting that every child should be exactly 20%
          taller than his or her parents. Estimated on a sample of one, the model would always fit
          the observed sample perfectly. Yet this model may be of limited use in predicting out of
          sample, because the relationship between that particular child’s height and his or her
          parents’ heights may not be representative of the broader population.

97.       More generally, in classical linear regression one can fit 10 data points perfectly when 10
          parameters are to be estimated (and get a fit R2 of 1.0, i.e., perfectly fit the variation in the
          observed sample). However, estimating 10 parameters from 10 data points would exploit
          random variation and, hence, overfit the observed data, which usually leads to a model
          that predicts poorly out of the observed sample. One would be more confident in the
          regression if it were fit with fewer parameters (say an intercept and a slope) and if it were
          developed based on prior theory, even if the regression fit the data less well (had a lower
          R2). One way to check for overfitting is to test the model’s predictive ability out of
          sample. For example, the model can be estimated (fitted) only on a subset of the available
          data. The data that is not used in the estimation is referred to as the “holdout” data. The
          test would be to check how well the parameters estimated with the fit data predict
          behavior in the remaining holdout data. If the model overfits the “estimation” data,64 it
          would not predict well on the holdout data.

98.       For the purpose of checking the predictive ability of the model I use in this case, I re-
          estimated the model three separate times. Each time, I used data on only 15 choice tasks
          from each respondent and held out one choice task per respondent for validation testing. I
          did this for the fourth, eighth, and twelfth choice tasks. I calculated the fit of the model
          based on the 15 choice tasks used in estimation (estimation sample). Using the same
          parameters (without re-estimating) I calculated the predictive ability of the model for the




64
      Estimation data are also called “calibration data.”



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order         Page 46 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 48 of 142




          held-out choices. I calculated two standard statistics, the “percent uncertainty explained”
          (also known as U2) and the “hit rate.”65

99.       U2 is the more technical of the two statistics. It represents the percentage of uncertainty
          that is explained by the model.66 A model that predicts perfectly every choice (which of
          the four products is chosen and whether the respondent indicates that they would or
          would not buy the chosen product) would have a U2 of 1.00. A model that does no better
          than chance would have a U2 of 0.00.67 When the fourth, eighth, or twelfth choice tasks
          were held out in the smartphone survey, the fit U2 was 0.42.68 These fit U2 numbers were
          0.50 across the three holdout scenarios for the tablet-survey model. These statistics imply
          that the model does very well in explaining substantial information about consumers’
          choices.

100.      To test whether the model can be used successfully to predict consumer behavior, I
          examined the ability of the model to predict choices made in choice tasks that were held
          out. Once again this U2 calculation reflects the predictive ability of the model for both the
          choice among the four products presented and the choice of whether or not to buy the
          chosen product. The average U2 statistic for the holdout choice tasks in the smartphone
          survey was 0.22 (compared to 0.42 for the estimation samples); in the tablet survey it was
          0.25 (compared to 0.50 for the estimation samples). Because U2 statistics for the holdout
          samples, which were not used to estimate the model, indicate the model correctly predicts


65
      Although I mechanically use respondent-level estimates to obtain each respondent’s contribution to U2 or hit
      rate, it is the market-level statistics on which I focus, consistently with arguments advanced elsewhere in this
      report.
66
      Hauser, John R. (1978), “Testing the Accuracy, Usefulness, and Significance of Probabilistic Choice Models:
      An Information-Theoretic Approach”, Operations Research, 26, 3 (May–June), pp. 406–421.
67
      In this case, the null model assumes that each of the four products and the decision to not choose one of the four
      products provides equal utility to the respondent.
68
      In calculating U2 for the estimation sample it is appropriate to adjust for the degrees of freedom in the model.
      This is appropriately conservative because it lowers the U2 value. In an HB model, I need to estimate the
      degrees of freedom as affected by the hierarchical constraints. This is a technical calculation involving the
      Deviation Information Criterion (DIC). I adjust the degrees of freedom by lowering the likelihood value by the
      degrees of freedom and then computing a ρ2 fit statistic. See Hardie, Bruce G., Eric J. Johnson, and Peter S.
      Fader (1993), “Modeling Loss Aversion and Reference Dependence Effects on Brand Choice,” Marketing
      Science, 12, 4, (Fall), pp. 378–394. Because Hauser (1978) demonstrates that ρ2 is numerically equal to U2 this
      correction for degrees of freedom can also be used for ܷ ଶ while retaining the intuitive interpretation of U2. See
      my backup for calculations.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                    Page 47 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 49 of 142




          consumer choices with substantial probability even out of sample, the HB CBC model
          can form a reliable basis for forecasts and predictions of consumer behavior. Therefore, it
          is not the case that the HB CBC model is “over-fitting” by generating accurate
          predictions for the data included in the estimation while predicting poorly out of sample.

101.      For the reasons stated above, it is my opinion that the model provides reliable and
          substantial information explaining consumers’ choices with respect to the smartphone
          and tablet patent-related features at issue. Indeed, the U2 statistics for both the estimation
          and holdout samples are similar in magnitude to U2 values reported in research published
          in academic journals.69

102.      The second statistic that I examine in the holdout analyses is the hit rate. The hit rate is a
          more intuitive measure. It reports the frequency with which the model predicts
          respondents’ choices to be the most likely choices in the choice task. This includes a
          respondent’s first choice of which among four products they prefer, as well as the second
          choice of whether or not to buy that product. If the model correctly picks the chosen
          product and the decision of whether or not to buy in every choice task for every
          respondent, then the model would have a hit rate of 1.00. If the model never picked the
          chosen product or the choice of whether or not to buy, the model would have a hit rate of
          0.00. For the smartphone survey I find an average hit rate of 0.82 in the estimation
          sample and 0.52 in the holdout samples.70 For the tablet model, these numbers are 0.85
          and 0.53 respectively. Once again, the observation to be made is that (a) these statistics
          indicate that the model does very well in correctly predicting consumer choices, and (b)
          they are high for both the estimation and holdout samples, indicating that the model’s




69
     For example, a study estimates different specifications of a model and finds U2 ranging between 0.22 and 0.48.
     See Guadagni, Peter, and John Little (1983), “A Logit Model of Brand Choice Calibrated on Scanner Data,”
     Marketing Science, 2, 3, pp. 203–238.
70
     For example, in the smartphone survey, the model predicted that the option actually chosen among the four
     options was the most likely to be chosen in 0.63 of holdout choice tasks across all respondents. It also correctly
     predicted whether a respondent would choose whether or not to buy in 0.61 of holdout choice tasks across all
     respondents. The model correctly predicted both choices in 0.52 of holdout choice tasks across all respondents.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                   Page 48 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 50 of 142




          results can be used to reliably predict consumer behavior and estimate consumers’
          relative willingness to buy products with or without the patents at issue.71

103.      As explained above, the model I use to estimate partworths for smartphones and tablets
          incorporates information about consumer behavior. For example, consumer-behavior
          theory teaches that preferences are monotonic for price: all else equal, people prefer to
          pay less than to pay more. Ignoring this information and consumer-behavior theory
          would result in estimating a model that does not use all of the available data. Such a
          model would be a less reliable description of consumer behavior and a less reliable
          summary of the available data.

104.      Indeed, when I estimate the model without incorporating available information about
          consumer behavior, I find that this specification does not statistically predict as well as
          the one that does use available information in predicting consumer behavior. 72 This
          evidence is consistent with my decision to use a model that is based on data that is
          available from the sample of respondents. Therefore, in my opinion, the model that I use
          is the most appropriate model because it predicts consumer behavior more reliably and
          because it is consistent with consumer-behavior theory.73




71
     Note that the calculation of hit rate uses information at the individual respondent level. The statistic itself,
     however, is at the aggregate level and accurately interpretable. Furthermore, there is no natural way to correct
     the estimation hit rate for degrees of freedom, hence, it is natural to expect some drop off in the predictive tests.
72
     U2 is 0.19 for smartphones and 0.22 for tablets in the holdout samples for the model that does not incorporate
     available information about consumer behavior, which are lower than U2 of 0.22 and 0.25 respectively in the
     holdout samples for the model that I use. It is good empirical practice to do a logical check on models that do
     not expect to predict as well. A model that does not use all of the available data may overfit the estimation
     sample when it attempts to adjust parameters to match the limited data. Parameters that are estimated on a
     model that ignores data may not predict as well as parameters estimated on the model that uses all available
     data.
73
     After estimating partworths, I also considered whether adding interactions between different attributes would do
     a better job in the estimation. For tablets, I find that adding interactions to the model would harm its ability to
     reliably predict consumer behavior. For both smartphones and tablets, I find that the model with added
     interactions has negative U2 in the holdout samples; in other words it overfits the data that it is used to estimate,
     and it predicts less well than chance in the holdout sample. Therefore the model that incorporates information
     about consumer behavior but does not include interactions is the most appropriate model to use for predicting
     consumer behavior and calculating the price premiums associated with smartphone or tablet features.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                      Page 49 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 51 of 142




          B.         Consumers Positively Value the Patent-Related Features

105.      Table 4 summarizes the statistics about the distribution of partworths for the three feature
          categories that contain the patent-related features included in the smartphone survey
          across all respondents used in the estimation. (The statistics about the distribution of
          partworths for price, screen size, camera, and minimum level of attractiveness are
          presented in Exhibit M.)


                                     Table 4: Partworth Distribution
                                 of Patent-Related Smartphone Features
                                                                                                        Average Market
                                                                                                        Level Heterogeneity
                                                                                       Average Market   (Standard
                                                                                       Level Mean       Deviation)

             Data Accessibility
             Notification Bar                                                          –31.11           31.31
             Notification Bar and Background Syncing                                   –8.55            24.11
             Notification Bar, Background Syncing, and Quick Links                     11.75            24.61
             Notification Bar, Background Syncing, Quick Links, and                    27.92            28.04
             Universal Search

             Call Initiation and Screening
             Three-Way Calling                                                         –53.42           37.73
             Three-Way Calling and Reject Call with Message                            –9.95            27.34
             Three-Way Calling, Reject Call with Message, and Missed Call              20.37            27.31
             Screen Management
             Three-Way Calling, Reject Call with Message, Missed Call                  43.01            38.82
             Screen Management, and Wi-Fi Calling

             Input Assistance
             Copy-Paste                                                                –55.25           38.88
             Copy-Paste and Voice to Text                                              –9.37            29.97
             Copy-Paste, Voice to Text, and Automatic Word Correction                  25.05            31.20
             Copy-Paste, Voice to Text, Automatic Word Correction,                     39.57            33.27
             and S Pen




106.      This distribution of the partworths is estimated precisely. The relative partworths, i.e., the
          differences between partworths of different levels of a feature category, indicate the value
          (in units of utility) of switching between different levels of these feature categories. For
          example, Table 4 indicates that, on average, smartphone-survey respondents value
          switching from “Notification Bar and Background Syncing” to “Notification Bar,
          Background Syncing, and Quick Links” by 11.75 – (–8.55) = 20.30 units of utility. It is


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                        Page 50 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 52 of 142




          these relative partworths that are used in predicting consumer behavior and that can be
          used to estimate the price premium consumers are willing to pay for a particular feature.74
          As explained below, the higher the relative partworth associated with a particular feature,
          the greater the effect of adding or removing the feature on consumers’ willingness to buy
          the product. Moreover, the higher the relative partworth for a particular feature, the
          higher the price premium consumers are willing to pay for inclusion of that feature in a
          product.

107.      Based on the mean partworths reported in Table 4, it is my opinion that, on average,
          respondents in the smartphone survey place positive value on the patent-related features I
          tested.

                    In the smartphone survey, the average partworth (–8.55) for “Notification
                     Bar and Background Syncing” is higher than the average partworth (–
                     31.11) for “Notification Bar.” This indicates that, on average, respondents
                     value the difference between these levels, which is Background Syncing.

                    In the smartphone survey, the average partworth (11.75) for “Notification
                     Bar, Background Syncing, and Quick Links” is higher than the average
                     partworth (–8.55) for “Notification Bar and Background Syncing.” This
                     indicates that, on average, respondents value the difference between these
                     levels, which is Quick Links.

                    In the smartphone survey, the average partworth (27.92) for “Notification
                     Bar, Background Syncing, Quick Links, and Universal Search” is higher
                     than the average partworth (11.75) for “Notification Bar, Background
                     Syncing, and Quick Links.” This indicates that, on average, respondents
                     value the difference between these levels, which is Universal Search.

                    In the smartphone survey, the average partworth (20.37) for “Three-Way
                     Calling, Reject Call with Message, and Missed Call Screen Management”
                     is higher than the average partworth (–9.95) for “Three-Way Calling and
                     Reject Call with Message.” This indicates that, on average, respondents
                     value the difference between these levels, which is Missed Call Screen
                     Management.

74
     The reported mean partworths in Tables 4 and 5 are zero centered with respect to the average partworth across
     different levels of the corresponding feature category, i.e., the zero-centered partworths of different levels of the
     same feature category sum up to zero. For example, suppose a feature category has four levels, with partworth
     estimates of 2, 4, 6 and 8. The average partworth would be 5 and the zero-centered partworths would be -3, -1, 1
     and 3. So if the partworth estimate associated with a certain level of a feature category is below the average
     partworth across different levels of the feature category, the zero-centered partworth of that feature level would
     be negative.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                      Page 51 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 53 of 142




                    In the smartphone survey, the average partworth (25.05) for “Copy-Paste,
                     Voice to Text, and Automatic Word Correction” is higher than the average
                     partworth (–9.37) for “Copy-Paste and Voice to Text.” This indicates that,
                     on average, respondents value the difference between these levels, which
                     is Automatic Word Correction.

108.      Table 4 also reports the variation of partworths over the market for the feature categories
          that include patent-related features. 75 (The corresponding variation statistics for price,
          camera, and screen size are presented in Exhibit M, along with estimates of their
          respective mean partworths.) This variation summarizes the heterogeneity in partworths
          across respondents; the higher these standard deviations, the more the partworths vary
          across respondents. Because partworths vary across respondents, the HB CBC model
          takes into account that different respondents value the various features differently.76 For
          example, in the smartphone survey, the standard deviation for “Three-Way Calling and
          Reject Call with Message” (27.34) was smaller than the standard deviation for “Three-
          Way Calling, Reject Call with Message, Missed Call Screen Management, and Wi-Fi
          Calling” (38.82). This implies that there is greater variation in the partworths for the latter
          than there is for the former.

109.      Similarly, Table 5 summarizes the statistics about the distribution of partworths for the
          three feature categories that contain the patent-related features included in the tablet
          survey across all respondents used in the estimation. (The statistics about the distribution
          of partworths for price, screen size, connectivity, and minimum level of attractiveness are
          presented in Exhibit M.)




75
     This variation over the market should not be confused with the precision by which I estimate the means and
     standard deviations. For example, the standard errors of the estimated population means are given in Exhibit M
     and are interpreted differently than the standard deviations that represent population heterogeneity.
76
     For example, one respondent may value input assistance features very highly (the difference in partworths
     between different levels of the input assistance category may be large), while another respondent may be
     particularly price sensitive (the difference in partworths between different price levels may be very large).



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                Page 52 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 54 of 142




                                        Table 5: Partworth Distribution
                                       of Patent-Related Tablet Features
                                                                                                        Average Market
                                                                                                        Level Heterogeneity
                                                                                       Average Market   (Standard
                                                                                       Level Mean       Deviation)

             Data Accessibility
             Status Bar                                                                –31.49           29.36
             Status Bar and Background Syncing                                         –7.65            21.91
             Status Bar, Background Syncing, and Quick Links                           12.82            23.41
             Status Bar, Background Syncing, Quick Links, and Universal                26.32            25.49
             Search

             Lock Screen Interface
             Lock Screen Display Customization                                         –17.39           24.31
             Lock Screen Display Customization and Lock Screen Shortcuts               –6.58            23.06
             Lock Screen Display Customization, Lock Screen Shortcuts,                 5.79             20.85
             and Multiple Lock Screen Widgets
             Lock Screen Display Customization, Lock Screen Shortcuts,                 18.18            26.30
             Multiple Lock Screen Widgets, and Slide to Unlock

             Input Assistance
             Copy-Paste                                                                –48.72           38.50
             Copy-Paste and Voice to Text                                              –9.89            26.25
             Copy-Paste, Voice to Text, and Automatic Word Correction                  14.56            26.68
             Copy-Paste, Voice to Text, Automatic Word Correction,                     44.05            38.40
             and S Pen




110.      Based on the mean partworths reported in Table 5, it is my opinion that, on average,
          respondents in the tablet survey place positive value on the patent-related features I
          tested.

                    In the tablet survey, the average partworth (–7.65) for “Status Bar and
                     Background Syncing” is higher than the average partworth (–31.49) for
                     “Status Bar.” This indicates that, on average, respondents value the
                     difference between these levels, which is Background Syncing.

                    In the tablet survey, the average partworth (12.82) for “Status Bar,
                     Background Syncing, and Quick Links” is higher than the average
                     partworth (–7.65) for “Status Bar and Background Syncing.” This
                     indicates that, on average, respondents value the difference between these
                     levels, which is Quick Links.

                    In the tablet survey, the average partworth (26.32) for “Status Bar,
                     Background Syncing, Quick Links, and Universal Search” is higher than
                     the average partworth (12.82) for “Status Bar, Background Syncing, and



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                        Page 53 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 55 of 142




                     Quick Links.” This indicates that, on average, respondents value the
                     difference between these levels, which is Universal Search.

                    In the tablet survey, the average partworth (18.18) for “Lock Screen
                     Display Customization, Lock Screen Shortcuts, Multiple Lock Screen
                     Widgets, and Slide to Unlock” is higher than the average partworth (5.79)
                     for “Lock Screen Display Customization, Lock Screen Shortcuts, and
                     Multiple Lock Screen Widgets.” This indicates that, on average,
                     respondents value the difference between these levels, which is Slide to
                     Unlock.

                    In the tablet survey the average partworth (14.56) for “Copy-Paste, Voice
                     to Text, and Automatic Word Correction” is higher than the average
                     partworth (–9.89) for “Copy-Paste and Voice to Text.” This indicates that,
                     on average, respondents value the difference between these levels, which
                     is Automatic Word Correction.

111.      In summary, the HB CBC model passes standard statistical tests of fit and predictive
          ability, which supports my opinion that it is appropriate to use the estimated partworths to
          forecast consumer behavior, estimate respondents’ relative willingness to buy products
          with and without the patent-related features I tested, and calculate the price premium that
          consumers are willing to pay for these patent-related features. Based on my analysis as
          set forth herein and on the data described in the exhibits to this report, it is my opinion
          that, on average, respondents in both the tablet and smartphone surveys place a
          substantial value on the patent-related features included in the two surveys. In the next
          two sections, I quantify consumers’ willingness to buy products with and without these
          patent-related features and calculate the price premium that consumers are willing to pay
          for these patent-related features.


VII.      The Effect of the Patent-Related Features on Consumers’ Willingness to Buy

112.      In this section, I describe a series of choice simulations based on the HB CBC partworth
          estimates. The simulations calculate how consumers’ overall willingness to buy a
          smartphone or a tablet is affected by removing one or more of the patent-related features
          I tested. Consumers’ willingness to buy is simulated using the predicted choice of all
          survey respondents between buying and not buying a product. I also note, as I have done
          earlier in this report, that my sample consists of owners of Samsung smartphones or



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order     Page 54 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 56 of 142




          tablets. My estimates are therefore not designed to measure the share of Samsung
          products in the overall market for all smartphones or tablets. Rather, my surveys provide
          estimates of how the willingness of Samsung consumers to buy Samsung smartphones
          and tablets changes based on removing one or more of the patent-related features I tested.

113.      I used standard procedures in the Sawtooth Software HB CBC software to run the choice
          simulations. Market simulations using HB CBC partworth estimates are often used by
          firms to simulate what would happen if a new product were introduced to a market, or if a
          firm decided to change a feature or features of an existing product. Forecasts based on
          such market simulations are sufficiently accurate that firms routinely make decisions
          based on the results of these simulations.77 To predict the respondents’ choices in the
          simulation, I apply an approach commonly used in marketing research called
          “Randomized First Choice (“RFC”) Simulation.” Under RFC, a consumer chooses the
          product that gives him or her highest utility among the available choices (i.e., the first
          choice), where the consumer’s utility from a product is calculated as the sum of the
          estimated partworths for the features provided by the product plus random draws of the
          unobserved components in the utility.78 The consumer will choose the product if it is
          sufficiently attractive, that is, if the utility he or she gets from choosing the product is
          larger than the utility (partworth) of not choosing (choosing the “outside option”).
          Alternatively, one can also use a related methodology, commonly called “First Choice
          (“FC”) Simulation.”79


77
     For example, see Orme, B (2010), “Chapter 10: Market Simulators for Conjoint Analysis,” Getting Started with
     Conjoint Analysis: Strategies for Product Design and Pricing Research, Second Edition, (Madison, Wis.:
     Research Publishers LLC).
78
     The Sawtooth Software HB estimation includes a standard option to perform RFC. The software assumes that
     the random perturbations on the partworths of each attribute follow a standard Gumbel distribution and the
     additional random perturbations at the product level also follow a Gumbel distribution.
79
     In FC simulation, a consumer’s utility from each product is calculated as the sum of the estimated partworths
     for the product’s features. In RFC simulation, additional random perturbations are added to the estimated
     partworths and their sum. Therefore, when I do not add random perturbations to derive my estimates of the
     parameters of interest, it follows that the RFC simulation reduces to the FC simulation. On average, the baseline
     and but-for shares of various products do not change substantially between the two methods. Both the FC and
     RFC approaches are valid and provide reliable estimates at the aggregate level and, when used appropriately, at
     the aggregate level, the random draw introduced by RFC helps account for any imprecision and enhances
     predictive accuracy. Like other statistics, the individual-level estimates obtained by either method are less
     precise and any use of these calculations at the individual level must appropriately account for the relative
     precision of the estimates. One must be careful not to misuse the random perturbations. The random


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                  Page 55 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 57 of 142




114.      To calculate the effect of removing a particular feature has on consumers’ willingness to
          buy a product, I first perform a baseline choice simulation. In this scenario, I construct a
          baseline product that includes all of the features included the survey and use the HB CBC
          partworth estimates to simulate whether or not consumers choose to buy that baseline
          product. It is important to account for the fact that whether or not consumers would
          choose to buy the baseline product may vary depending on the levels of all feature
          categories. As such, and using smartphones as an example, in constructing the baseline
          smartphone, I first determine a price level (say $199) and a screen size (say 4.8”), and
          then add all the features included in the data accessibility, call initiation and screening,
          input assistance, and camera categories.80 I then use the RFC simulations to infer the
          share of consumers who would buy this smartphone. I refer to the fraction of consumers
          who buy this smartphone as the baseline share. The results for smartphones are presented
          in Table 6 below. For example, 72% of respondents would be willing to buy a baseline
          smartphone with a screen size of 4.8” for $199. Similarly, in constructing a baseline
          tablet, I first determine a price level (say $449) and a screen size (say 10.1”), and then
          add all the features included in the data accessibility, input assistance, connectivity, and
          lock screen interface categories.81




     perturbations are used to account for all unobserved effects and are normal and proper in statistical analysis.
     However, if one were to compare, say, a change in price with all else equal, and if one were to include the
     random perturbations, then the interpretation must recognize the unobserved effects. This is in part why, when I
     compute willingness-to-buy, I compare to a baseline where both the but-for calculations and the baseline
     calculations consistently use FC or RFC. One way to diagnose proper use is to compare for consistency of
     predictions from FC to predictions from RFC.
80
     For example, given that the price is $199 and the screen size is 4.8”, the baseline smartphone has the following
     features: Background Syncing (‘414), Quick Links (‘647), Universal Search (‘959), Missed Call Screen
     Management (‘760), Automatic Word Correction (‘172), Notification Bar, Three Way Calling, Reject Call with
     Message, Wi-Fi Calling, Copy-Paste, Voice to Text, S Pen, Panorama, Best Photo, Smile Shot, and Buddy
     Photo Share.
81
     For example, given that the price is $449 and the screen size is 10.1”, the baseline tablet has the following
     features: Background Syncing (‘414), Quick Links (‘647), Universal Search (‘959), Slide to Unlock (‘721),
     Automatic Word Correction (‘172), Status Bar, Lock Screen Display Customization, Lock Screen Shortcuts,
     Multiple Lock Screen Widgets, Copy-Paste, Voice to Text, S Pen, Wi-Fi, GPS, AllShare Play, and IR Blaster.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                 Page 56 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 58 of 142




     Table 6: Baseline Willingness to Buy for Smartphones with All Features

                                                                                Screen Size

             Price                     4.0”                      4.8”                      5.0”     5.5”

             $49                       72%                       83%                       90%      88%

             $99                       70%                       82%                       88%      86%

             $149                      63%                       76%                       83%      81%

             $199                      58%                       72%                       80%      77%

             $249                      52%                       66%                       75%      72%

             $299                      46%                       59%                       68%      65%




115.      Then I calculate this willingness to buy share again, but this time for a product that
          includes all of the same features as in the baseline product except the patent-related
          features being tested. For example, in order to test the impact of removing Background
          Syncing from the baseline smartphone, I construct a second smartphone with the same
          price level ($199), screen size (4.8”), and all the features included in the data
          accessibility, call initiation and screening, input assistance, and camera categories, except
          for Background Syncing. 82 I refer to the share of consumers who choose to buy this
          second smartphone as the but-for share.83 The results for the scenario where Background
          Syncing is removed are presented in Table 7 below. Specifically, 64% of respondents
          would be willing to buy the second smartphone discussed above, with a screen size of
          4.8” and all features except Background Syncing, for $199.


82
     For example, given that the price is $199 and the screen size is 4.8”, and I want to test the effect of removing
     Background Syncing (‘414) from the baseline smartphone, the but-for smartphone has the following features:
     Quick Links (‘647), Universal Search (‘959), Missed Call Screen Management (‘760), Automatic Word
     Correction (‘172), Notification Bar, Three Way Calling, Reject Call with Message, Wi-Fi Calling, Copy-Paste,
     Voice to Text, S Pen, Panorama, Best Photo, Smile Shot, and Buddy Photo Share.
83
     I consider products that include all but the tested features whether or not the tested features were the marginal
     feature in the highest level of a feature category. For example, consider a test for the effect of Missed Call
     Screen Management on consumers’ willingness to buy. The smartphone used to simulate the but-for share
     without Missed Call Screen Management will include the Wi-Fi Calling feature.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                   Page 57 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 59 of 142




                               Table 7: But-for Share for Smartphones
                            with All Features Except Background Syncing

                                                                                Screen Size

             Price                     4.0”                      4.8”                      5.0”   5.5”

             $49                       64%                       77%                       86%    83%

             $99                       62%                       76%                       84%    82%

             $149                      55%                       69%                       78%    75%

             $199                      50%                       64%                       73%    70%

             $249                      44%                       57%                       67%    64%

             $299                      38%                       51%                       59%    57%




116.      The difference between the baseline and but-for shares provides an estimate of the
          percentage of Samsung consumers who would buy a smartphone with the tested features
          (Background Syncing in this example) but not without it. For example, as seen in Tables
          6 and 7 above, the baseline share for a smartphone with a screen size of 4.8” and a price
          of $199 (and other features) is 72%. The but-for share for the same smartphone without
          the Background Syncing patent-related feature is 64%. In this example, the absence of
          the Background Syncing feature lowers willingness to buy by 8% (8% = 72% – 64%).
          Another way to present these results is to say that the change in the share is 11% (11% =
          (72% – 64%) ÷ 72%). The corresponding estimates of the percentage decline in
          willingness to buy resulting from removing the Background Syncing feature is presented
          for all different screen size and price combinations in Table 8 below.




Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                 Page 58 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 60 of 142




                   Table 8: Percentage Decline in Willingness to Buy
              for Smartphones without the Background Syncing Feature
            (Baseline Share minus But-for Share Divided by Baseline Share)

                                                                                Screen Size

             Price                     4.0”                      4.8”                      5.0”   5.5”

             $49                       11%                       7%                        4%     5%

             $99                       11%                       7%                        5%     5%

             $149                      12%                       9%                        7%     7%

             $199                      13%                       11%                       8%     9%

             $249                      15%                       13%                       11%    11%

             $299                      17%                       15%                       13%    13%




117.      I have replicated Tables 6, 7, and 8 on the first page of Exhibit N1. That page then
          includes all the calculations relevant to determining the effect of removing the
          Background Syncing patent-related feature on Samsung consumers’ demand for
          smartphones. Specifically, it includes the baseline share of a smartphone with the patent-
          related feature (Table 6), the but-for share of a smartphone otherwise identical but
          without the feature (Table 7), and the resulting percentage decline in share upon removal
          of the patent-related feature (Table 8).84

118.      The remaining four pages of Exhibit N1 present similar results for the four other patent-
          related features tested in the smartphone survey:

                    Quick Links (’647): For the price and screen size combinations presented
                     in Exhibit N1, the percentage decline in willingness-to-buy upon removal
                     of the Quick Links patent-related feature ranges from 5% (for 5.0” or 5.5”
                     smartphones at $49, or 5.0” smartphones at $99) to 16% (for 4.0”
                     smartphones at $299).


84
     Note that one could use the same simulation data to calculate the percentage increase in share upon adding the
     patent-related feature to the smartphone.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                 Page 59 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 61 of 142




                    Universal Search (’959): For the price and screen size combinations
                     presented in Exhibit N1, the percentage decline in willingness-to-buy upon
                     removal of the Universal Search patent-related feature ranges from 3%
                     (for 4.8”, 5.0”, or 5.5” smartphones at $49, or 5.0” or 5.5” smartphones at
                     $99) to 12% (for 4.0” smartphones at $299).

                    Missed Call Screen Management (’760): For the price and screen size
                     combinations presented in Exhibit N1, the percentage decline in
                     willingness-to-buy upon removal of the Missed Call Screen Management
                     patent-related feature ranges from 7% (for 5.0” or 5.5” smartphones at
                     $49, or 5.0” smartphones at $99) to 24% (for 4.0” smartphones at $299).

                    Automatic Word Correction (’172): For the price and screen size
                     combinations presented in Exhibit N1, the percentage decline in
                     willingness-to-buy upon removal of the Automatic Word Correction
                     patent-related feature ranges from 10% (for 5.0” or 5.5” smartphones at
                     $49, or 5.0” smartphones at $99) to 26% (for 4.0” smartphones at $299).

119.      Similar results showing the impact of removing patent-related features from tablets, one
          feature at a time, on consumers’ willingness to buy these products are presented in
          Exhibit N2.

                    Background Syncing (’414): For the price and screen size combinations
                     presented in Exhibit N2, the percentage decline in willingness-to-buy upon
                     removal of the Background Syncing patent-related feature ranges from 5%
                     (for 10.1” tablets at $199) to 23% (for 7.0” tablets at $549 or $599).

                    Quick Links (’647): For the price and screen size combinations presented
                     in Exhibit N2, the percentage decline in willingness-to-buy upon removal
                     of the Quick Links patent-related feature ranges from 4% (for 10.1” tablets
                     at $199 or $249) to 23% (for 7.0” tablets at $549 or $599).

                    Universal Search (’959): For the price and screen size combinations
                     presented in Exhibit N2, the percentage decline in willingness-to-buy upon
                     removal of the Universal Search patent-related feature ranges from 2%
                     (for 10.1” tablets at $199, $249, or $299) to 16% (for 7.0” tablets at $599).

                    Slide to Unlock (’721): For the price and screen size combinations
                     presented in Exhibit N2, the percentage decline in willingness-to-buy upon
                     removal of the Slide to Unlock patent-related feature ranges from 1% (for
                     10.1” tablets at $199) to 14% (for 7.0” tablets at $549 or $599, or 7.7”
                     tablets at $599).

                    Automatic Word Correction (’172): For the price and screen size
                     combinations presented in Exhibit N2, the percentage decline in
                     willingness-to-buy upon removal of the Automatic Word Correction


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order        Page 60 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 62 of 142




                     patent-related feature ranges from 6% (for 10.1” tablets at $199 or $249)
                     to 24% (for 7.0” tablets at $549 or $599, or 7.7” tablets at $599).

120.      In the above analysis, I evaluate the effect of removing each patent-related feature
          individually. The same methodology can be used to evaluate the effect of removing
          different combinations of patent-related features. One can test the impact of removing
          any two, any three, any four, or all five of the patent-related features included in the
          smartphone survey. There are 26 scenarios in total, one for each combination with at least
          two of the five patent-related features.

121.      The results of these different scenarios for the patent-related features tested in the
          smartphone survey are presented in Exhibit O1, with each scenario appearing on a
          separate page of the exhibit. Consider the following two examples:

                    Scenario 1 evaluates the decline in willingness to buy resulting from the
                     simultaneous removal of all five of the patent-related features included in
                     the smartphone survey: Background Syncing, Quick Links, Universal
                     Search, Missed Call Screen Management, and Automatic Word
                     Correction. The resulting percentage decline in willingness-to-buy ranges
                     from 43% (for 5.0” or 5.5” smartphones at $49) to 74% (for 4.0”
                     smartphones at $299).

                    Scenario 7 evaluates the decline in willingness to buy for smartphones
                     resulting from the simultaneous removal of all three patent-related features
                     in the data accessibility feature category: Background Syncing, Quick
                     Links, and Universal Search. The resulting percentage decline in
                     willingness-to-buy ranges from 15% (for 5.0” smartphones at $49) to 43%
                     (for 4.0” smartphones at $299).

122.      The corresponding willingness-to-buy results for different combinations of the five
          patent-related features tested in the tablet survey are presented in Exhibit O2. This exhibit
          also includes a set of 26 scenarios, each evaluating the effect of removing some
          combination of five, four, three, or two patent-related features at a time. Like the
          smartphone results, the tablet willingness-to-buy results are calculated at different
          combinations of screen size and price.

123.      Note that when I calculate the effect of collectively removing a number of features in one
          of the scenarios presented in Exhibits O1 and O2, the results may be different than what
          one would conclude from adding up the corresponding effects of each individual patent-


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order       Page 61 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 63 of 142




          related feature being tested, as they appear in Exhibits N1 and N2. In my opinion, if one
          is testing for the collective effect of removing multiple features, it is more reliable and
          appropriate to measure this collective effect directly, as described in Exhibits O1 and O2,
          instead of adding up the individual effects described in Exhibits N1 and N2.

124.      These choice simulation results and robustness checks demonstrate that, for both
          smartphones and tablets, the patent-related features at issue in this case, whether
          individually or collectively, have significant effects on Samsung consumers’ willingness
          to buy these relevant Samsung products.


VIII. The Price Premium for the Patent-Related Features

125.      I also estimate the price premium, if any, consumers are willing to pay for features
          associated with the patents I tested in the two surveys. Specifically, I ran a market
          simulation using the HB CBC partworth estimates to determine how Samsung consumers
          trade off price and these patent-related features. For the purposes of estimating the price
          premium, I use the term “market simulation” in a specific way. In price premium
          calculations, I test how the respondents in my sample, which are all owners of Samsung
          smartphones or tablets, choose between Samsung products with the patent-related
          features and Samsung products without these features, at varying prices. I calculate a
          price premium that provides a specific metric of the extent to which Samsung consumers’
          demand is driven by features associated with the patents I tested. My calculations of a
          price premium should not be confused with the calculation of a but-for price in the actual
          marketplace. Such calculations require additional data and additional analysis.

126.      I used the same standard procedures in the Sawtooth Software HB CBC to run the market
          simulations that I used in my earlier willingness-to-buy analysis. In the price-premium
          market simulation for each patent-related feature, I consider a scenario with two
          alternative product options: one option includes the patent-related feature, while the
          second one does not. Features in all other feature categories (except price) are held at the
          same level in the two products (e.g., both products have the same features in feature




Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order    Page 62 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 64 of 142




          categories such as screen size, camera, or connectivity).85 The market simulation uses the
          HB CBC partworth estimates to predict the number of respondents who would choose
          each of the two products when the first product (the one with the patent-related feature) is
          offered at a higher price than the second product (the one without the patent-related
          feature). The price-premium simulations increase the price of the product with the patent-
          related feature until the price reaches a level at which the model predicts that the market
          is indifferent between the two products, i.e., 50% of the respondents will choose each of
          the two products. The difference between the two prices that results in equal market
          shares is the price premium. To predict each respondent’s choice among the two products
          in the market simulation, I apply the RFC methodology discussed earlier. All discussion
          of RFC, including when and how it can be used, applies to price premium calculations.

127.      When estimating the price premium consumers are willing to pay for features associated
          with a patent, it is important to account for the fact that the price premium may vary
          depending on the initial price level of the two products. This is because consumers’ price
          sensitivity may vary over different price ranges. For example, consumers’ utility may
          drop by 20 units if a smartphone’s price increases from $99 to $149 but only by 5 units if
          the price increases from $49 to $99. This difference in price sensitivity makes intuitive
          sense as a consumer who is evaluating a $99 phone may be willing to spend more to get
          additional features, but a consumer who is evaluating a $199 smartphone may be less
          willing to spend as much. This is consistent with the well-established “prospect theory”
          of consumer behavior, for which Daniel Kahneman received a Nobel Prize in Economics
          in 2002.86 The existence of reference prices has also been documented in the academic
          literature using real world data.87 Because of the variation in consumers’ price sensitivity


85
     In this two product simulation, the levels of other feature categories do not affect the consumer’s choice as long
     as they are held constant between the two products.
86
     See Kahneman, Daniel, and Amos Tversky (2000), “Prospect Theory: An Analysis of Decision under Risk,” in
     Choices, Values, and Frames, Daniel Kahneman and Amos Tversky, Eds., (Cambridge University Press), at pp.
     32–34 and http://www.nobelprize.org/nobel_prizes/economics/laureates/2002/press.html (visited on March 20,
     2012).
87
     See, for example, Hardie, Bruce, Eric Johnson, and Peter Fader (1993), “Modeling Loss Aversion and
     Reference Dependence Effects on Brand Choice,” Marketing Science, 12, 4, (Autumn), pp. 378–394; and
     Kalyanaram, Gurumurthy, and Russell Winer (1995), “Empirical Generalizations from Reference Price
     Research,” Marketing Science, 14, 3, Special Issue on Empirical Generalizations in Marketing, pp. G161–G169.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                   Page 63 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 65 of 142




          over different price ranges, the estimated price premium will also vary over different
          price ranges.

128.      The actual average and median price respondents in the smartphone survey reported they
          paid for their Samsung devices was approximately $175.88 The corresponding average
          and median price respondents in the tablet survey reported they paid for their Samsung
          devices was approximately $350. In my market simulations, I use as the starting point the
          prices closest to the average price the respondents paid for their devices. Specifically, I
          use $149 as the starting point for the smartphone simulations and $299 as the starting
          point for the tablet simulations. These base prices generally yield a more conservative
          (i.e., lower) estimate for the price consumer consumers are willing to pay for the patent-
          related features.89

129.      The resulting price premium for the patent-related features tested in each of the two
          surveys are presented in Table 9 below, which is also presented as Exhibit P. For
          example, as shown in the smartphone column, if a smartphone without the Background
          Syncing feature is priced at $149, the market simulation predicts that the price premium
          that consumers are willing to pay for the Background Syncing patent-related feature is
          $69. In other words, the price of an otherwise identical smartphone that has the
          Background Syncing patent-related feature could be $69 higher and the median
          respondent would be indifferent between the two products. The price premiums
          respondents are willing to pay for the other patent-related features in smartphones range
          from $44 to $102. The price premiums respondents are willing to pay for the five patent-
          related features tested in the tablet survey range from $32 to $63.
88
     Note that this is the upfront price respondents paid for their smartphones, many of them as part of a new two
     year contract. In the survey, respondents were instructed that they were buying a new smartphone as part of a
     new two-year contract. In other words, consumers are instructed to take into account the full cost of service.
     This is typically significantly higher over the course of two years than the initial price of the phone. For
     example, see the informational graphic showing the total cost of an iPhone 5 and service over the course of two
     years to be $2,020 for T-Mobile, $2,120 for Sprint, $2,360 at AT&T, and $2,600 at Verizon; Thomas Gryta, “T-
     Mobile to Sell iPhone April 12,” The Wall Street Journal, March 26, 2013, at
     http://online.wsj.com/article/SB10001424127887324105204578384482319259430.html, (visited on August 10,
     2013).
89
     Note that price premiums cannot be calculated using the highest price levels included in the survey ($299 for
     smartphones and $599 for tablets), since there are no partworths for price levels higher than these levels. The
     highest levels can only be used as the base of the simulations if I were to extrapolate beyond the price levels
     that I have surveyed. That would be inappropriate and speculative, because such levels have not been tested.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                 Page 64 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 66 of 142




                      Table 9: Price Premium for Patent-Related Features
                                 Market Simulation Approach

                                                                    Base price without patent-related feature

             Patent-Related Feature                     Smartphones, $149                  Tablets, $299

             Background Syncing                         $69                                $62
             (’414)

             Quick Links (’647)                         $56                                $56

             Universal Search (’959)                    $44                                $33

             Automatic Word                             $102                               $63
             Correction (’172)

             Missed Call Screen                         $87                                Not tested
             Management (’760)

             Slide to Unlock (’721)                     Not tested                         $32




130.      As a robustness check, I have also calculated the price premium associated with each
          patent-related feature based on how consumers trade off the partworths associated with a
          feature with those associated with price.90 This partworths trade-off calculation yields


90
     In the partworths trade-off approach, I calculate the median price premium across respondents. In other words,
     half of the respondents are willing to pay a higher price premium and half are willing to pay a lower price
     premium. The calculation compares the partworth change associated with changing the price to the partworth
     change associated with a product feature change and uses the comparison to impute the price premium that
     consumers would be willing to pay for the product feature. Specifically, the method first calculates the amount
     of utility gained by having the feature of interest. Suppose that we gain 20 units of utility from Background
     Syncing. We now examine how much utility the consumer can “buy” with an increased price. Suppose that the
     consumer only loses 10 units of utility by going from $149 to $299. We would then know that the consumer
     would pay at least $150 for Background Syncing. To see how much more we would have to examine the next
     price range (if it was asked in the survey.) Now suppose the consumer loses more than 50 units of utility by
     going from $149 to $299. Then we know the consumer would be willing to pay at most $150 for Background
     Syncing. We can get an estimate of what the consumer would be willing to pay by linear interpolation in the
     range, in this case (20/50) of the $150 range. Such interpolation is most consistent when we use medians. If the
     change in price has to move beyond the measured range in order to “buy” units of utility, then we need to take
     the new range into account. Any price change above the highest measured partworths would require
     extrapolation and would be inappropriate and speculative. These calculations are illustrative. I performed these
     calculations using the estimated distribution of partworths for the market. The HB CBC estimation provides
     10,000 samples from the distribution of partworths. For each of these samples, I computed the median price
     premium for the market. I then computed an overall market-level price premium by taking the median of the
     10,000 sample median price premiums. As explained in the earlier coin-flipping examples, reporting the price


Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                    Page 65 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 67 of 142




          price premium estimates that are similar to what I estimate using the main market
          simulation method described above. The results can be seen in Table 10 below, and are
          reported in Exhibit Q.


                     Table 10: Price Premium for Patent-Related Features
                               Partworths Trade-Off Approach

                                                                    Base price without patent-related feature

             Patent-Related Feature                     Smartphones, $149                  Tablets, $299

             Background Syncing                         $74                                $65
             (’414)

             Quick Links (’647)                         $60                                $58

             Universal Search (’959)                    $47                                $34

             Automatic Word                             $117                               $67
             Correction (’172)

             Missed Call Screen                         $100                               Not tested
             Management (’760)

             Slide to Unlock (’721)                     Not tested                         $34




131.      These market simulation and partworths trade-off results show that, for both smartphones
          and tablets, Samsung customers are willing to pay a substantial price premium for each of
          the features associated with the patents I tested.91




     premium for an individual respondent would not be sufficiently precise. However, the overall, market-level
     price premium is sufficiently precise.
91
     I calculate price premiums for each patent-related feature individually. One can calculate price premiums for
     combinations of patent-related features collectively. As explained above, the appropriate way to calculate the
     collective effect on willingness to buy of a combination of different features is to calculate this effect directly,
     as opposed to adding up the individual effects. The same holds for the price premium calculated for each
     feature. Also as explained earlier, it is inappropriate and speculative to extrapolate price premium estimates
     beyond the price ranges tested within the surveys, whether a price premium is calculated for an individual
     feature or for a combination of features.



Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                     Page 66 of 67
       Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 68 of 142




132.      Finally, I understand that the exhibits to my report and underlying data have been
          provided to Christopher Vellturo, Ph.D. I further understand from Dr. Vellturo that he is
          utilizing the data and findings from my conjoint studies in order to estimate how demand
          for certain smartphones and tablets is impacted when product features I considered in my
          conjoint studies are removed from those devices. I also understand that those devices
          have prices and screen sizes within or close to the ranges in my conjoint studies. In my
          opinion, it is appropriate to use the data and findings from my studies for such an
          application.




                                                                                           Signed on August 11, 2013




Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order                   Page 67 of 67
Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 69 of 142




                   EXHIBIT B
                 Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 70 of 142

                                                                                                            EXHIBIT G


Introduction 1




Captcha




QS1




                                                                                                                    1
               Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 71 of 142

                                                                                                          EXHIBIT G


QS2




QS3




QS4




                                                                                                                  2
               Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 72 of 142

                                                                                                          EXHIBIT G


QS5




QS6




                                                                                                                  3
               Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 73 of 142

                                                                                                          EXHIBIT G


QS7




QS7a




                                                                                                                  4
            Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 74 of 142

                                                                                                       EXHIBIT G


QS7b




                                                                                                               5
            Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 75 of 142

                                                                                                       EXHIBIT G


QS7c




QS7d




                                                                                                               6
            Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 76 of 142

                                                                                                       EXHIBIT G


QS7e




QS7f




                                                                                                               7
                 Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 77 of 142

                                                                                                            EXHIBIT G


QS8




Introduction 2




                                                                                                                    8
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
    Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 78 of 142

                                                                                                         EXHIBIT G


Introduction 2a




                                                                                                                 9
                 Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
    Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 79 of 142

                                                                                                            EXHIBIT G


Introduction 2b




Introduction 3




                                                                                                                   10
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
    Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 80 of 142

                                                                                                         EXHIBIT G


Price Introduction




Price Description




                                                                                                                11
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
    Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 81 of 142

                                                                                                         EXHIBIT G


Data Accessibility Introduction




Data Accessibility‐ Feature 1 (Notification Bar)




                                                                                                                12
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
    Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 82 of 142

                                                                                                         EXHIBIT G


Data Accessibility‐ Feature 2 (Background Syncing)




Data Accessibility‐ Feature 3 (Quick Links)




                                                                                                                13
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 83 of 142

                                                                                                         EXHIBIT G


Data Accessibility‐ Feature 4 (Universal Search)




Data Accessibility Summary




                                                                                                                14
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
    Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 84 of 142

                                                                                                         EXHIBIT G


Call Initiation and Screening Introduction




Call Initiation and Screening‐ Feature 1 (Three‐Way Calling)




                                                                                                                15
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
    Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 85 of 142

                                                                                                         EXHIBIT G


Call Initiation and Screening‐ Feature 2 (Reject Call with Message)




Call Initiation and Screening‐ Feature 3 (Missed Call Screen Management)




                                                                                                                16
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 86 of 142

                                                                                                         EXHIBIT G


Call Initiation and Screening‐ Feature 4 (Wi‐Fi Calling)




Call Initiation and Screening Summary




                                                                                                                17
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
    Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 87 of 142

                                                                                                         EXHIBIT G


Input Assistance Introduction




Input Assistance‐ Feature 1 (Copy‐Paste)




                                                                                                                18
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 88 of 142

                                                                                                         EXHIBIT G


Input Assistance‐ Feature 2 (Voice to Text)




Input Assistance‐ Feature 3 (Automatic Word Correction)




                                                                                                                19
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 89 of 142

                                                                                                         EXHIBIT G


Input Assistance‐ Feature 4 (S Pen)




Input Assistance Summary




                                                                                                                20
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
    Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 90 of 142

                                                                                                         EXHIBIT G


Screen Size Introduction




Screen Size Description




                                                                                                                21
             Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 91 of 142

                                                                                                        EXHIBIT G


Camera Introduction




Camera‐ Feature 1 (Panorama)




                                                                                                               22
             Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 92 of 142

                                                                                                        EXHIBIT G


Camera‐ Feature 2 (Best Photo)




Camera‐ Feature 3 (Smile Shot)




                                                                                                               23
             Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 93 of 142

                                                                                                        EXHIBIT G


Camera‐ Feature 4 (Buddy Photo Share)




Camera Summary




                                                                                                               24
                 Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
    Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 94 of 142

                                                                                                            EXHIBIT G


Introduction 4




Introduction 5




                                                                                                                   25
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
    Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 95 of 142

                                                                                                         EXHIBIT G


Conjoint (x 16 choices)




                                                                                                                26
             Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
    Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 96 of 142

                                                                                                        EXHIBIT G


Final Page




                                                                                                               27
Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 97 of 142




                   EXHIBIT E
                 Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 98 of 142

                                                                                                            EXHIBIT H


Introduction 1




Captcha




QS1




                                                                                                                    1
               Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 99 of 142

                                                                                                          EXHIBIT H


QS2




QS3




QS4




                                                                                                                  2
            Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
  Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 100 of 142

                                                                                                       EXHIBIT H


QS5




QS6




QS7




                                                                                                               3
            Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
  Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 101 of 142

                                                                                                       EXHIBIT H


QS7a




QS7b




                                                                                                               4
            Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
  Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 102 of 142

                                                                                                       EXHIBIT H


QS7c




QS7d




QS7e




                                                                                                               5
             Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 103 of 142

                                                                                                        EXHIBIT H


QS7f




QS8




                                                                                                                6
                 Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 104 of 142

                                                                                                            EXHIBIT H


Introduction 2




Introduction 2a




                                                                                                                    7
                 Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 105 of 142

                                                                                                            EXHIBIT H


Introduction 2b




Introduction 3




Price Introduction




                                                                                                                    8
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 106 of 142

                                                                                                         EXHIBIT H


Price Description




Screen Size Introduction




                                                                                                                 9
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 107 of 142

                                                                                                         EXHIBIT H


Screen Size Description




Input Assistance Introduction




                                                                                                                10
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 108 of 142

                                                                                                         EXHIBIT H


Input Assistance – Feature 1 (Copy Paste)




Input Assistance – Feature 2 (Voice to Text)




                                                                                                                11
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 109 of 142

                                                                                                         EXHIBIT H


Input Assistance – Feature 3 (Automatic Word Correction)




Input Assistance – Feature 4 (S Pen)




Input Assistance Summary




                                                                                                                12
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 110 of 142

                                                                                                         EXHIBIT H


Connectivity Introduction




Connectivity – Feature 1 (Wi‐Fi)




Connectivity – Feature 2 (GPS)




                                                                                                                13
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 111 of 142

                                                                                                         EXHIBIT H


Connectivity – Feature 3 (AllShare Play)




Connectivity – Feature 4 (IR Blaster)




Connectivity Summary




                                                                                                                14
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 112 of 142

                                                                                                         EXHIBIT H


Lock Screen Interface Introduction




Lock Screen Interface – Feature 1 (Lock Screen Display Customization)




Lock Screen Interface – Feature 2 (Lock Screen Shortcuts)




                                                                                                                15
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 113 of 142

                                                                                                         EXHIBIT H


Lock Screen Interface – Feature 3 (Multiple Lock Screen Widgets)




Lock Screen Interface – Feature 4 (Slide to Unlock)




                                                                                                                16
               Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 114 of 142

                                                                                                          EXHIBIT H


Lock Screen Interface Summary




Data Accessibility Introduction




Data Accessibility – Feature 1 (Status Bar)




                                                                                                                 17
               Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 115 of 142

                                                                                                          EXHIBIT H


Data Accessibility – Feature 2 (Background Syncing)




Data Accessibility – Feature 3 (Quick Links)




                                                                                                                 18
                 Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 116 of 142

                                                                                                            EXHIBIT H


Data Accessibility – Feature 4 (Universal Search)




Data Accessibility Summary




Introduction 4




                                                                                                                   19
                 Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 117 of 142

                                                                                                            EXHIBIT H


Introduction 5




                                                                                                                   20
              Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 118 of 142

                                                                                                         EXHIBIT H


Conjoint (x 16 choices)




                                                                                                                21
             Confidential—Contains Material Designated as Confidential—Pursuant to a Protective Order
   Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 119 of 142

                                                                                                        EXHIBIT H


Final Page




                                                                                                               22
Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 120 of 142




                    EXHIBIT F
     Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 121 of 142


                                                                         Page 1
 1           UNITED STATES DISTRICT COURT
 2         NORTHERN DISTRICT OF CALIFORNIA
 3                 SAN JOSE DIVISION
 4   --------------------------------X
     APPLE INC., a California
 5   corporation,
 6                     Plaintiff,
                                     Case No. 12-cv-00630
 7                VS.
 8   SAMSUNG ELECTRONICS CO., LTD.,
     A Korean corporation; SAMSUNG
 9   ELECTRONICS AMERICA, INC., a
     New York corporation; SAMSUNG
10   TELECOMMUNICATIONS AMERICA,
     LLC, a Delaware limited
11   liability company,
12                     Defendants.
     --------------------------------X
13

14

15                VIDEOTAPED DEPOSITION
16                          OF
17                     JOHN HAUSER
18              Friday, September 27, 2013
19                   200 Park Avenue
20                  New York, New York
21

22

23   Reported by:
     AYLETTE GONZALEZ, CLR
24   JOB NO. 66029
25


                        TSG Reporting - Worldwide   877-702-9580
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 122 of 142


                                                                        Page 152
 1   give the long answer after the short answer,
 2   but I'm wondering if there's a short answer to
 3   this question.
 4              Did you compare any of the data and
 5   results from your conjoint study in this case                     13:58
 6   to market share or price data from actual
 7   sales --
 8              MR. TORCHIA:       Objection --
 9         Q.   -- in the market?
10              MR. TORCHIA:       Objection to the                    13:58
11         form of the question; compound.
12         A.   I -- I believe I've answered that,
13   and I -- what you're asking me is, did I do --
14   did I misuse the model.       My model is not
15   developed to, say, get market share between                       13:58
16   Apple and Samsung; and therefore, it would've
17   been totally inappropriate to do it;

18   therefore, I didn't do it.
19         Q.   Could you use the results of your
20   model to predict market share between Apple                       13:58

21   and Samsung?
22         A.   No, that would be an inappropriate

23   use of the model.    Well, let's -- alone,

24   right?   The model could be used as inputs to
25   other analyses that have other -- other data                      13:59


                         TSG Reporting - Worldwide   877-702-9580
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 123 of 142


                                                                        Page 153
 1   and other flows in it.       So it's not that it
 2   couldn't be done, but I haven't done that.
 3              But to actually take my model just
 4   to part words and predict how people who
 5   bought Sam- -- whether people who bought                          13:59
 6   Samsung -- or who had bought Apple would have
 7   bought Samsung, I can't predict if people --
 8   whether people who bought Apple would have
 9   bought Samsung with my model.
10         Q.   Or whether people who bought                           13:59
11   Samsung would have bought Apple?
12         A.   What I can predict is, I can
13   predict they would not have bought the phone
14   they bought.   That's what I predict, and I'm
15   very confident in that.        Now --                             13:59
16         Q.   But beyond the fact that they would
17   not have bought the phone they bought, can you

18   allocate what phones they would have bought
19   instead in the actual marketplace?
20         A.   Do you mean did I or do you mean                       14:00

21   could one do that?
22         Q.   Did you?

23         A.   I did not do that.

24         Q.   Did you consider for purposes of
25   your analysis any noncompensatory decision                        14:00


                          TSG Reporting - Worldwide   877-702-9580
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 124 of 142


                                                                        Page 303
 1   at the time the respondents completed the
 2   survey?
 3                MR. TORCHIA:     Objection to the
 4         form of the question.
 5         A.     I think that's somewhat orthogonal                   17:44
 6   to what we're trying to get at.           What we tried
 7   to have in here is a realistic set of
 8   distraction features, as well as price, as
 9   well as dependent features.         And we wanted the
10   respondents to be making what they felt were                      17:45
11   realistic choices amongst these options.
12                We fully recognize that when the
13   time comes, that some of these may not be on
14   the market and we're going to have to deal
15   with that.    Some of the features may not be                     17:45
16   available.
17         Q.     You did not include any kind of

18   battery type as a distraction feature,
19   correct?
20         A.     We chose -- the purpose of a                         17:45

21   distraction feature is just what it says,
22   distraction.    So battery type was not one of

23   the features that I used.

24         Q.     Mobile operating system was not one
25   of the distraction features, was it?                              17:45


                         TSG Reporting - Worldwide   877-702-9580
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 125 of 142


                                                                        Page 304
 1         A.    We can go through this one-by-one
 2   if you'd like.   We chose certain distraction
 3   features.   There could have been others, as I
 4   believed distraction features that we had were
 5   -- played the role that was appropriate.                          17:46
 6         Q.    The selection of distraction
 7   features did not include an analysis of the
 8   most promoted features on Samsung phones,
 9   correct?
10               MR. TORCHIA:      Objection; form.                    17:46
11         A.    What I needed in distraction
12   features is that features that would be, at
13   least of some level of importance that the
14   respondent would not experience.            Would not
15   realize that we were focusing on just a                           17:46
16   certain set of patented features.               That --
17   that I wanted to avoid.       So these don't have

18   to be the most important features.               I have no
19   way of knowing that without a conjoint study
20   in the first place.     But I made some guesses                   17:46

21   as to what would be the best distraction
22   features.

23         Q.    But in the context of your guesses

24   of what would be the best distraction
25   features, you did not consider any other                          17:47


                         TSG Reporting - Worldwide    877-702-9580
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 126 of 142


                                                                        Page 305
 1   consumer surveys, post-purchase research done
 2   by Samsung or Apple or other studies to
 3   determine the features most important to
 4   purchasers of smartphone, correct?
 5               MR. TORCHIA:      Objection to form.                  17:47
 6         A.    As I've indicated, the one thing of
 7   importance is we'd have to have an importance
 8   study to do that.    Just because -- just
 9   because a feature is advised does not mean
10   it's the most important.                                          17:47
11               I do not have to have the most
12   important features in as distraction features,
13   but I do have to have at least some of my
14   features having reasonable importance, which
15   they did.                                                         17:47
16         Q.    Based on your guess?
17         A.    No.

18               MR. TORCHIA:      Objection to the
19         form of the question.
20         A.    No, based upon the results of the                     17:47

21   survey.
22         Q.    You did not review any consumer

23   research from Apple or Samsung that identified

24   features smartphone purchasers identified as
25   important to them when selecting the                              17:48


                         TSG Reporting - Worldwide   877-702-9580
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 127 of 142


                                                                        Page 306
 1   distracted features, correct?
 2                MR. TORCHIA:     Objection to the
 3         form.
 4         A.     Well, the answer to your question
 5   as asked is, yes, I did review market research                    17:48
 6   from Apple.
 7         Q.     Where is it on your reliance
 8   materials?
 9         A.     I didn't do it for this case.
10         Q.     Did you consider that market                         17:48
11   research material when selecting your
12   distraction features in this case?
13         A.     I did not -- that's not -- I don't
14   need to choose the most important features.
15   And what I do need to do is to have, in the                       17:48
16   end, features that have some reasonable
17   importance such that they act as distraction

18   features.
19         Q.     All I'm trying to do if you relied
20   on something, like a consumer research study,                     17:49

21   report or anything, I want to put it in front
22   of you and ask you about it.          If you didn't

23   rely on that, I don't need to ask you.

24                That's why I'm asking; did you rely
25   on any consumer research for identifying the                      17:49


                         TSG Reporting - Worldwide   877-702-9580
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 128 of 142


                                                                        Page 307
 1   distraction features you included in your
 2   survey?
 3               MR. TORCHIA:      Objection to form.
 4          A.   To the best of my knowledge, we
 5   have listed -- we've done our best to list                         17:49
 6   everything that I relied upon.           And my
 7   understanding is that either you've been given
 8   that or that you can attain it from public
 9   sources.
10               So, I think the answer to your                         17:49
11   question is I relied upon what I relied upon.
12   If it's not listed, then I didn't rely upon
13   it.   It doesn't mean I don't know about it,
14   but it's not something that I relied upon.                     I
15   listed everything that I relied upon.                              17:50
16               Why do you keep asking me about
17   things I didn't rely upon.         I've been very

18   complete on what I relied upon.
19          Q.   Do you want me to answer that?
20          A.   I guess that's rhetorical.              I know         17:50

21   I'm not allowed to ask questions.
22          Q.   You are.    I just don't want your

23   client -- or your attorney objecting to your

24   question.
25               MR. TORCHIA:      You'll know if I                     17:50


                         TSG Reporting - Worldwide   877-702-9580
     Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 129 of 142


                                                                       Page 322
 1                MR. TORCHIA:            Thank you,
 2         Dr. Hauser.         I have nothing.
 3                THE VIDEOGRAPHER:                 It's 6:13 p.m.
 4         We're going off the record.
 5                (Whereupon, at 6:13 p.m., the
 6         Examination of this Witness was
 7         concluded.)
 8

 9

                     ________________________
10                             JOHN HAUSER
11

12   Subscribed and sworn to before me
13   This _______ day of __________, 2013.
14

     ____________________________________
15              NOTARY PUBLIC
16

17

18

19

20

21

22

23

24

25



                        TSG Reporting - Worldwide   877-702-9580
     Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 130 of 142


                                                                       Page 325
 1                  C E R T I F I C A T E
 2

 3   STATE OF NEW YORK                  )
                                      :     SS.:
 4   COUNTY OF RICHMOND                 )
 5

 6              I, AYLETTE GONZALEZ, a Notary Public
 7   for and within the State of New York, do
 8   hereby certify:
 9              That the witness, JOHN HAUSER, whose
10   examination is hereinbefore set forth was
11   duly sworn and that such examination is a
12   true record of the testimony given by that
13   witness.
14              I further certify that I am not
15   related to any of the parties to this action
16   by blood or by marriage and that I am in no
17   way interested in the outcome of this matter.
18              IN WITNESS WHEREOF, I have hereunto
19   set my hand this 27th day of September, 2013.
20

21                   __________________________
                             AYLETTE GONZALEZ
22                   (Notary Public No. 01G06228612
                      Expiration date:                 9/27/2014)
23

24

25



                        TSG Reporting - Worldwide   877-702-9580
Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 131 of 142




                    EXHIBIT J
     Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 132 of 142
                      Highly Confidential - Outside Attorneys' Eyes Only


                                                                               Page 1
 1              IN THE UNITED STATES DISTRICT COURT
 2                NORTHERN DISTRICT OF CALIFORNIA
 3                            SAN JOSE DIVISION
 4

 5   APPLE INC., a California
 6   corporation,
 7               Plaintiff,
 8   vs.                                                     NO. 12-CV-00630-LHK
 9   SAMSUNG ELECTRONICS CO., LTD.,
10   a Korean corporation; SAMSUNG
11   ELECTRONICS AMERICA, INC., a
12   New York corporation; SAMSUNG
13   TELECOMMUNICATIONS AMERICA,
14   LLC, a Delaware limited
15   liability company,
16               Defendants.
17                                                         /
18    HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY
19              VIDEOTAPED DEPOSITION OF STAN NG
20                        PALO ALTO, CALIFORNIA
21                        TUESDAY, JULY 2, 2013
22

23   REPORTED BY:
24   JANIS JENNINGS, CSR No. 3942, CLR, CCRR
25   62116

                         TSG Reporting - Worldwide     877-702-9580
      Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 133 of 142
                        Highly Confidential - Outside Attorneys' Eyes Only


                                                                                Page 136
 1   I don't knows as part of it.               So that may have been
 2   the reason that Miss Drance put "low" because she
 3   just didn't know.
 4      Q.    Did you think that the Note was an
 5   innovative product?                                                     12:54:58
 6      A.    No.
 7      Q.    Do you think it created a category?
 8      A.    No.
 9      Q.    What do you think Samsung has done well in
10   the smartphone space?                                                   12:55:18
11            MR. STONE:        Objection.           Lacks foundation.
12            THE WITNESS:         Well, they've spent a lot of
13   money on marketing.        They create a lot of products.
14   BY MR. WATSON:
15      Q.    Anything else?                                                 12:55:37
16      A.    No.
17            MR. WATSON:         What number are we?
18            MR. STONE:        6.
19            MR. WATSON:         Let's mark Exhibit 6.
20            (Exhibit 6 was marked for identification                       12:55:59
21            and attached hereto.)
22   BY MR. WATSON:
23      Q.    Have you seen this document before?
24      A.    I have.
25      Q.    Can you tell me what this is?                                  12:56:27


                           TSG Reporting - Worldwide     877-702-9580
     Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 134 of 142
                      Highly Confidential - Outside Attorneys' Eyes Only


                                                                                 Page 156
 1               I, STAN NG, do hereby declare under
 2   penalty of perjury that I have read the foregoing
 3   transcript; that I have made corrections as appear
 4   noted, in ink, initialed by me, or attached hereto;
 5   that my testimony as contained herein, as corrected,
 6   is true and correct.
 7               EXECUTED this ____ day of _______________,
 8   2013, at _____________________, ___________________.
                            (City)                                     (State)
 9

10

11

12

                          _____________________
13                                       STAN NG
14

15

16

17

18

19

20

21

22

23

24

25



                         TSG Reporting - Worldwide     877-702-9580
     Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 135 of 142
                      Highly Confidential - Outside Attorneys' Eyes Only


                                                                           Page 157
 1               I, JANIS JENNINGS, a Certified Shorthand
 2   Reporter of the State of California, do hereby
 3   certify:
 4               That the foregoing proceedings were taken
 5   before me at the time and place herein set forth;
 6   that any witnesses in the foregoing proceedings,
 7   prior to testifying, were placed under oath; that a
 8   verbatim record of the proceedings was made by me
 9   using machine shorthand which was thereafter
10   transcribed under my direction; further that the
11   foregoing is an accurate transcription thereof.
12               I further certify that I am neither
13   financially interested in the action nor a relative
14   or employee of any attorney or any of the parties.
15               IN WITNESS WHEREOF, I have this date
16   subscribed my name.
17

18   Dated:   JULY 2, 2013
19

20

21

                          ________________________________
22                                           JANIS JENNINGS
23                                           CSR No. 3942, CLR, CCRR
24

25



                         TSG Reporting - Worldwide     877-702-9580
Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 136 of 142




                    EXHIBIT N
          Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 137 of 142
                                    Apple Inc. v. Samsung Electronics Co., LTD., et al.                                     EXHIBIT 3


                                               Damages Summary
                                                  ($ millions)

                                                                                          Reasonable      Total
Damages Scenario                                                          Lost Profits      Royalty      Damages
Four‐Month Off the Market Lost Profits + Diminished Demand          1/       $980.6         $897.5       $1,878.1
Lost Profits + Reasonable Royalties on Non‐Lost‐Profits Units

Diminished Demand Lost Profits +                                    2/       $653.7         $938.2       $1,591.9
Reasonable Royalties on Non‐Lost‐Profits Units

Four‐Month Off the Market Lost Profits +                            3/       $455.2         $967.4       $1,422.7
Reasonable Royalties on Non‐Lost‐Profits Units

Reasonable Royalties on All Infringing Units                        4/          ‐         $1,024.0       $1,024.0



Sources/Notes:
1/ Exhibit 19
2/ Exhibit 17
3/ Exhibit 21
4/ Exhibit 31




                                                                                            HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY
                                                                                                          SUBJECT TO PROTECTIVE ORDER
Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 138 of 142




                    EXHIBIT R
     Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 139 of 142




                                UNITED STATES DISTRICT COURT
 1
                  NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
 2

 3 APPLE INC., a California corporation,

 4                Plaintiff,

 5          vs.

 6 SAMSUNG ELECTRONICS CO., LTD., a              CASE NO. 12-cv-00630-LHK
   Korean corporation; SAMSUNG
 7
   ELECTRONICS AMERICA, INC., a New
 8 York corporation; SAMSUNG
   TELECOMMUNICATIONS AMERICA,
 9 LLC, a Delaware limited liability company,

10                Defendants.
11

12           REBUTTAL EXPERT REPORT OF DR. KEVIN JEFFAY CONCERNING
                   NONINFRINGEMENT OF U.S. PATENT NO. 5,946,647
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       HIGHLY CONFIDENTIAL OUTSIDE ATTORNEYS’
                                                                       EYES ONLY SOURCE CODE
      EXPERT REPORT OF DR. KEVIN JEFFAY CONCERNING NONINFRINGEMENT OF U.S. PATENT 5,946,647
     Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 140 of 142




 1

 2

 3

 4

 5

 6      INTENTIONALLY OMITTED FROM RECORD/EXHIBIT

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21          E.     Apple's Characterization of the Patented Feature is Misleading

22                 1.        Prof. Hauser

23          108.   Samsung has asked me to review a portion of the Expert Report of John R. Hauser

24 related to the his description of the '647 patent. Dr. Hauser describes the purported invention of the

25 '647 patent as follows:

26                 Quick Links. When you are viewing text on your smartphone (for
                   example in an email), the Quick Links feature automatically detects
27

28                                                   38        HIGHLY CONFIDENTIAL OUTSIDE ATTORNEYS’
                                                                               EYES ONLY SOURCE CODE
      EXPERT REPORT OF DR. KEVIN JEFFAY CONCERNING NONINFRINGEMENT OF U.S. PATENT 5,946,647
     Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 141 of 142




                   certain types of data (such as phone numbers or email addresses)
 1                 and enables you to choose among multiple actions to perform on
 2                 that data. For example, this feature will automatically detect a phone
                   number displayed in an email, and if you press and hold the phone
 3                 number, it will offer you multiple actions such as calling or texting
                   the number, or adding it to your contacts folder. Without this
 4                 feature, if you wanted to take various actions, like calling or texting
                   a number, you would have to manually identify and select the exact
 5
                   text that might be data to take actions on.
 6 (Hauser Report, Ex. E.)

 7          109.   Dr. Hauser's description is incorrect. At base, Dr. Hauser does not accurately
 8 represent how features are realized in the underlying software, which is the entire core of the '647

 9 patent. Instead, Dr. Hauser's survey question is directed to finding out the value of a particular

10 feature and user function on a smart phone. There is no indication to the user that the same

11 functions can be present on the phone without, for instance, using an "analyzer server" or the

12 claimed "linking."     In other words, Dr. Hauser's survey does not address the underlying
13 composition of the software that provides the accused functionality. Dr. Hauser's survey does not

14 even attempt to measure the value of the claimed invention, because it asks only about a function,

15 not about a system.

16          110.   Moreover, even if it were correct for Dr. Hauser to look only at functionality and
17 not software, his description is highly misleading. Users of the accused functionality are not

18 aware whether structures are being "detected" for instance, even if they are aware that they can

19 take actions on structures. As I set forth at length in my noninfringing alternatives section, the

20 functionality in question can be provided to the user without even detecting the structure, or by

21 detecting it only after a user has made a selection of the structure. Accordingly, Dr. Hauser's

22 description of a device without the accused function is wrong.

23

24         INTENTIONALLY OMITTED FROM RECORD/EXHIBIT

25

26

27

28                                                   39        HIGHLY CONFIDENTIAL OUTSIDE ATTORNEYS’
                                                                               EYES ONLY SOURCE CODE
      EXPERT REPORT OF DR. KEVIN JEFFAY CONCERNING NONINFRINGEMENT OF U.S. PATENT 5,946,647
     Case 5:12-cv-00630-LHK Document 1297-1 Filed 02/19/14 Page 142 of 142


          INTENTIONALLY OMITTED FROM RECORD/EXHIBIT

 1

 2

 3 DATED: September 13, 2013                        ______________________________
                                                    Kevin Jeffay
 4

 5

 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                            303       HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’
                                                                        EYES ONLY – SOURCE CODE
      EXPERT REPORT OF DR. KEVIN JEFFAY CONCERNING NONINFRINGEMENT OF U.S. PATENT 5,946,647
